 Case 3:15-cv-00666-M Document 244 Filed 11/05/18      Page 1 of 58 PageID 5398


                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

NIC SALOMON,                                      §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §      CIVIL ACTION NO.
                                                  §      3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,                   §
LLC, OUTDOOR CHANNEL HOLDINGS,                    §
INC., and PACIFIC NORTHERN CAPITAL LLC,           §
                                                  §
       Defendants.                                §

        DEFENDANTS KROENKE SPORTS & ENTERTAINMENT, LLC AND
      OUTDOOR CHANNEL HOLDINGS, INC.’S BRIEF IN SUPPORT OF THEIR
                  MOTION FOR SUMMARY JUDGMENT


TO THE HONORABLE BARBARA M. G. LYNN, UNITED STATES DISTRICT COURT
CHIEF JUDGE

By:

Paul C. Watler                              Kevin D. Evans
State Bar No. 00784334                      Admitted pro hac vice
Shannon Zmud Teicher                        Nicholas W. Dowd
State Bar No. 24047169                      Admitted pro hac vice
J ACKSON WALKER L.L.P.                      ARMSTRONG TEASDALE LLP
2323 Ross Avenue, Suite 600                 4643 South Ulster Street, Suite 800
Dallas, Texas 75201                         Denver, CO 80237
Telephone: 214.953.6000                     Telephone: 720.200.0676
Facsimile: 214.953.5822                     Facsimile: 720.200.0679
Email: pwatler@jw.com                       Email: kdevans@armstrongteasdale.com
        steicher@jw.com                            ndowd@armstrongteasdale.com


Attorneys for Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and
OUTDOOR CHANNEL HOLDINGS, INC.
                                                                   November 5, 2018




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment
     Case 3:15-cv-00666-M Document 244 Filed 11/05/18                                          Page 2 of 58 PageID 5399


                                                 TABLE OF CONTENTS

I.       FIFTH CIRCUIT AND TEXAS LAW SOUNDLY REJECT PLAINTIFF’S
         LEGAL THEORY ...............................................................................................................1

II.      SUMMARY OF PLAINTIFF’S CLAIMS ..........................................................................2

III.     STATEMENT OF UNDISPUTED FACTS ........................................................................5

         A.        The Parties ...............................................................................................................5

         B.        Outdoor’s Potential Sale Of The Aerial Camera Business ......................................6

                   1.         Outdoor Considers Selling The Aerial Camera Business, While
                              Also Receiving And Considering Offers To Sell Itself ...............................6

                   2.         Outdoor Signs A Nonbinding Term Sheet With Plaintiff And PNC ...........7

                   3.         Outdoor Continues To Negotiate With Plaintiff And PNC
                              Regarding A Sale Of The Aerial Camera Business Even After KSE
                              Makes An Unsolicited Offer To Acquire Outdoor ....................................10

                   4.         Plaintiff And PNC Fail To Sign Definitive Agreements With
                              Outdoor For The Sale Of The Aerial Camera Business ............................13

         C.        KSE Acquires Outdoor And Relevant Post-Acquisition Facts ..............................15

IV.      ARGUMENT .....................................................................................................................16

         A.        Standards Governing Defendants’ Motion For Summary Judgment .....................16

         B.        Outdoor Did Not Breach The Exclusivity Section Of The Term Sheet ................17

                   1.         Applicable Law ..........................................................................................17

                   2.         Texas And Fifth Circuit Law Do Not Support Plaintiff’s Breach Of
                              Contract Or Other Theories .......................................................................18

                   3.         The Term Sheet Allowed Any Party To Terminate Negotiations
                              Without Liability........................................................................................21

                   4.         There Is No Disputed Issue Of Material Fact Regarding Outdoor’s
                              Actions Related To The Term Sheet; Outdoor Did Not Breach The
                              Term Sheet .................................................................................................21

                              a.         Outdoor’s Discussions With KSE Regarding a Potential
                                         Merger did not Violate the Exclusivity Section of the Term
                                         Sheet ...............................................................................................22



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                                                          i
 Case 3:15-cv-00666-M Document 244 Filed 11/05/18                                     Page 3 of 58 PageID 5400


                      b.         Outdoor did not Agree to Sell the Aerial Camera Business
                                 to KSE or Anyone Else During the Term Sheet’s
                                 Exclusivity Period; in Fact, Outdoor Never Agreed to do so
                                 at any Time After February 27, 2013.............................................25

                      c.         Outdoor and KSE Only Negotiated and Discussed KSE’s
                                 Interest in Acquiring Outdoor—not the Aerial Camera
                                 Business .........................................................................................28

                      d.         The Term Sheet did not Prevent Outdoor From Disclosing
                                 the Existence of Plaintiff, PNC, or the Term Sheet to KSE ..........29

                      e.         KSE Never “Vetoed” any Sale of the Aerial Camera
                                 Business Prior to the Merger..........................................................30

            5.        Plaintiff’s Alleged Damages Are Entirely Speculative And
                      Without Evidentiary Support .....................................................................31

      C.    KSE Did Not Tortiously Interfere With An Existing Contract Between
            Plaintiff And Outdoor ............................................................................................33

            1.        Applicable Law ..........................................................................................33

            2.        KSE Did Not Interfere With Any Contract Between Outdoor And
                      Plaintiff, Or Induce Outdoor To Do Anything Regarding
                      Attempted Sale Of The Aerial Camera Business .......................................34

      D.    KSE Did Not Tortiously Interfere With A Prospective Business Relation
            Between Plaintiff And Outdoor .............................................................................36

            1.        Applicable Law ..........................................................................................36

            2.        There Is No Evidence Of Interference By KSE .........................................37

            3.        Plaintiff Does Not Allege Or Have Evidence Of Independently
                      Tortious Conduct By KSE .........................................................................38

      E.    Defendants Did Not Aid Or Abet A Breach Of Fiduciary Duty By PNC .............40

            1.        Applicable Law ..........................................................................................40

            2.        Outdoor And KSE Did Not Induce PNC To Breach A Fiduciary
                      Duty Or Assist PNC In Breaching A Fiduciary Duty ................................41

      F.    Defendants Are Entitled To Summary Judgment On Plaintiff’s “Unjust
            Enrichment” Claim ................................................................................................42

            1.        Unjust Enrichment Is Not An Independent Cause Of Action ....................42



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                                              ii
 Case 3:15-cv-00666-M Document 244 Filed 11/05/18                                       Page 4 of 58 PageID 5401


                2.         Even If Unjust Enrichment Is An Independent Cause Of Action,
                           Plaintiff’s Claim Fails ................................................................................43

      G.        There Is No Evidence Of An Agreement Among Defendants And PNC
                That Defendants Engaged In Any Unlawful Act, Or That Plaintiff
                Suffered Any Damages ..........................................................................................44

      H.        Plaintiff’s Disgorgement “Claim” Is Insupportable ...............................................45

V.    CONCLUSION ..................................................................................................................49




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                                              iii
  Case 3:15-cv-00666-M Document 244 Filed 11/05/18                                                 Page 5 of 58 PageID 5402


                                                  TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

Cases

ACS Investors, Inc. v. McLaughlin,
  943 S.W.2d 426 (Tex. 1997) ........................................................................................33, 34, 35

Am. Realty Trust, Inc. v. Matisse Partners, L.L.C.,
   No. Civ.A.3:00−CV−1801−G, 2002 WL 1489543 (N.D. Tex. July 10, 2002) ...............46, 47

Bartucci v. Jackson,
   Civil Action No. 04-2977, 2006 WL 2631925 (E.D. La. Sept. 13, 2006) .................................1

Capital Parks, Inc. v. Southeastern Adver. And Sales Sys., Inc.,
   30 F.3d 627 (5th Cir. 1994) ............................................................................................. passim

Celotex Corp. v. Catrett,
   477 U.S. 317 (1986) .................................................................................................................16

Clearview Props., L.P. v. Prop. Texas SC One Corp.,
   287 S.W.3d 132 (Tex. App.—Houston [14th Dist.] 2009) ......................................................31

Community Initiatives, Inc. v. Chase Bank of Texas,
  153 S.W.3d 270 (Tex. App.—El Paso 2004)...........................................................................37

Davis-Lynch, Inc. v. Moreno,
   667 F.3d 539 (5th Cir. 2012) ...................................................................................................45

Docudata Records Mgmt. Servs., Inc. v. Wieser,
   966 S.W.2d 192 (Tex. App.—Houston [1st Dist.] 1998, pet. denied) ............................. passim

Engel v. Teleprompter Corp.,
   703 F.2d 127 (5th Cir. 1983) .............................................................................................19, 20

Gonzalez v. Mission Am. Ins. Co.,
   795 S.W.2d 734 (Tex. 1990) ....................................................................................................24

Heldenfels Bros., Inc. v. City of Corpus Christi,
   832 S.W.2d 39 (Tex. 1992) ......................................................................................................44

Hoffman v. L & M Arts,
   838 F.3d 568 (5th Cir. 2016) ...................................................................................................48

Hunn v. Dan Wilson Homes, Inc.,
   Civil Action No. 5:12-CV-081-C, 2013 WL 12128677 (N.D. Tex. Sept. 23,
   2013) ........................................................................................................................................45



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                                                            iv
  Case 3:15-cv-00666-M Document 244 Filed 11/05/18                                                 Page 6 of 58 PageID 5403


Ingram v. Beneficial Fin. Inc.,
   Civil Action No. 3:13-CV-4037-L, 2015 WL 1443110 (N.D. Tex. Mar. 30,
   2015) ........................................................................................................................................43

Interstate Contracting Corp. v. City of Dallas, Tex.,
    407 F.3d 708 (5th Cir. 2005) .............................................................................................18, 24

Johnson v. Wells Fargo Bank, NA,
   999 F. Supp. 2d 919 (N.D. Tex. 2014) ....................................................................................49

Kellermann v. Avaya, Inc.,
   530 F. App’x 384 (5th Cir. 2013) ................................................................................17, 18, 21

Marcus, Stowell & Beye Gov’t Secs., Inc. v. Jefferson Inv. Corp.,
  797 F.2d 227 (5th Cir. 1986) ...................................................................................................48

Meadows v. Hartford Life Ins. Co.,
  492 F.3d 634 (5th Cir. 2007) .......................................................................................41, 45, 49

Mission Trading Co., Inc. v. Lewis,
   Civil Action No. H-16-3368, 2017 WL 6935824 (S.D. Tex. July 31, 2017) ..........................43

New York Life Ins. Co. v. Miller,
   114 S.W.3d 114 (Tex. App.—Austin 2003) ............................................................................34

Orthoflex, Inc. v. Thermo Tek, Inc.,
   Nos. 3:11–CV–0870–D, 3:10–CV–2618–D, 2013 WL 4045206 (N.D. Tex.
   Aug. 9, 2013) ...........................................................................................................................24

Paramount Commc’ns Inc. v. QVC Network Inc.,
   637 A.2d 34 (Del. 1994) ..........................................................................................................25

Patterson v. Long Beach Mortg. Co.,
   Civil Action No. 3:07–CV–1602–O–BH, 2009 WL 4884151 (N.D. Tex. Dec.
   15, 2009) ..................................................................................................................................44

Sanchez v. Target Corp.,
   3:15-CV-1034-P, 2016 WL 3453635 (N.D. Tex. Jan. 20, 2016) ............................................16

Spence v. Glock, Ges.m.b.H.,
   227 F.3d 308 (5th Cir. 2000) ...................................................................................................17

Tenneco, Inc. v. Ent. Prods. Co.,
   925 S.W.2d 640 (Tex. 1996) ..........................................................................................2, 20, 25

ThermoTek, Inc. v. WMI Enters., LLC,
   Civil Action No. 3:10-CV-2618-D, 2011 WL 1485421 (N.D. Tex. Apr. 19,
   2011) ........................................................................................................................................33


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                                                             v
  Case 3:15-cv-00666-M Document 244 Filed 11/05/18                                                  Page 7 of 58 PageID 5404


Tollett v. JPMorgan Chase Bank, N.A.,
    No. 11-14-00228-CV, 2016 WL 5340225 (Tex. App.—Eastland Sept. 22,
    2016) ........................................................................................................................................31

United States v. Diebold, Inc.,
   369 U.S. 654 (1962) .................................................................................................................16

Wal–Mart Stores, Inc. v. Sturges,
   52 S.W.3d 711 (Tex. 2001) ................................................................................................39, 40

Walker v. Geithner,
   400 F. App’x 914 (5th Cir. 2010) (per curiam) ...........................................................17, 21, 31

Whitfield v. Nelson,
   No. 3:13-CV-2230-BN, 2014 WL 1243805 (N.D. Tex. Mar. 26, 2014) ...........................45, 49

Statutes

Delaware General Corporation Law Section 251(b) .....................................................................28




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                                                             vi
    Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 8 of 58 PageID 5405


“One of the central purposes of the motion for summary judgment in the federal system is as a
   device for unmasking frivolous claims and putting a swift end to meritless litigation.”1

        I. FIFTH CIRCUIT AND TEXAS LAW SOUNDLY REJECT PLAINTIFF’S
                               LEGAL THEORY

        Plaintiff’s claims in this lawsuit all rely on and flow from a basic, but irreparably flawed

premise: that an agreement preventing Defendant Outdoor Channel Holdings, Inc. (“Outdoor”)

from discussing or negotiating or agreeing to a sale of two of its wholly-owned subsidiaries during

a two and one-half month period also prevented Outdoor from discussing or negotiating or

agreeing to a merger by Outdoor and acquisition of all Outdoor stock. The Fifth Circuit and Texas

Courts both reject the central theory on which Plaintiff’s entire case is based.

        In Capital Parks, Inc. v. Southeastern Adver. And Sales Sys., Inc., 30 F.3d 627 (5th Cir.

1994), the Fifth Circuit affirmed dismissal of an action brought by the holder of a right of first

refusal to acquire a wholly-owned subsidiary of the defendant. The plaintiff claimed that an

acquisition of the subsidiary’s parent corporation by a third party violated that right of first refusal.

The Fifth Circuit explained that “the transfer of the parent corporation’s stock and assets . . . [did]

not affect the ownership of assets held by the subsidiary,” and therefore did not implicate the

plaintiff’s right to purchase the subsidiary. Id. at 629.

        The same is true under Texas law. In Docudata Records Mgmt. Servs., Inc. v. Wieser, 966

S.W.2d 192 (Tex. App.—Houston [1st Dist.] 1998, pet. denied), the court reversed a judgment

granted to an employee whose employment contract entitled him to a bonus upon the “sale” of a

subsidiary of the defendant. The plaintiff argued that a share exchange involving the subsidiary’s

parent company constituted a sale of the subsidiary. Id. at 196–97. In rejecting that theory, the



1 Bartucci v. Jackson, Civil Action No. 04-2977, 2006 WL 2631925, at *4 (E.D. La. Sept. 13,
2006) (quoting Quinn v. Syracuse Model Neighborhood Corp., 613 F.2d 438, 445 (2d Cir. 1980))
(internal quotation marks omitted).


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                   1
    Case 3:15-cv-00666-M Document 244 Filed 11/05/18                 Page 9 of 58 PageID 5406


court explained “a parent corporation and its subsidiaries are distinct legal entities” and “a sale of

all the stock in a corporation does not constitute a sale of the corporation’s assets.” Id. at 197; see

also Tenneco, Inc. v. Ent. Prods. Co., 925 S.W.2d 640, 646 (Tex. 1996) (citations omitted)

(Affirming summary judgment and noting that, “[i]n holding that the sale of a corporation’s stock

does not trigger rights of first refusal, we join courts from other jurisdictions that have considered

the issue. We also recognize the insight of commentators who have long maintained that stock

sales do not invoke preemptive rights. A contrary conclusion is an unwarranted impingement on

the free transfer of stock.”).

         As explained more fully below, these binding precedents compel the conclusion that

Plaintiff’s theory of liability, which is based entirely on the acquisition of all Outdoor stock in May

2013 by a subsidiary of Defendant Kroenke Sports & Entertainment, LLC (“KSE”), is

fundamentally flawed. Defendants therefore are entitled to summary judgment on each of

Plaintiff’s claims asserted against them.

                          II. SUMMARY OF PLAINTIFF’S CLAIMS

         After over three and one-half years since filing this case, three complaints, and extensive

and costly discovery (during which Defendants KSE and Outdoor ( collectively, “Defendants”)

produced over 62,000 pages of documents, gave three depositions, answered another 44 written

deposition questions, answered 18 interrogatories, and answered 50 requests for admission)2,

Plaintiff Nic Salomon (“Plaintiff”) simply cannot demonstrate a viable cause of action.

Defendants thus move for summary judgment under FEDERAL RULE OF CIVIL PROCEDURE 56 on

each of Plaintiff’s claims asserted against them in the Second Amended Complaint (“SAC”).




2   Defendants also took 12 depositions and produced two expert reports.


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                 2
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                    Page 10 of 58 PageID 5407


        This case arises out of Plaintiff’s failed effort in 2013 to acquire two Outdoor subsidiaries,

SkyCam LLC (“SkyCam”) and CableCam LLC (“CableCam,” collectively, the “Aerial Camera

Business”). (See Ex. A-1, SAC, ECF #63, App. 007–030). The relevant provisions of the Term

Sheet on which Plaintiff bases this case, and which were drafted in their entirety by Plaintiff and

his partner Pacific Northern Capital (“PNC”)—a now defunct private equity company that Plaintiff

worked with to try and help finance the attempted acquisition—provide, in part, that until such

time as definitive agreements for sale of the Aerial Camera Business were entered into (and

definitive agreements were never signed by Outdoor, Plaintiff and PNC), any party could terminate

negotiations, for any reason or no reason, and without liability. (See Ex. A-2, SAC, Ex. A, ECF

#63, App. 031–035).

        Plaintiff claims that Outdoor violated his purported “rights” under the Term Sheet signed

by Outdoor on the one hand, and Plaintiff and PNC for a never formed “Purchaser” on the other.

(Ex. A-1, SAC ¶¶ 49–52, ECF #63, App. 022). Plaintiff also claims that KSE, a subsidiary of

which merged with and acquired all Outdoor stock, purposely scuttled Outdoor’s negotiations with

Plaintiff so, according to Plaintiff, KSE could obtain the Aerial Camera Business for itself. (Id. ¶¶

53–59, App. 023–24). The undisputed evidence, however, belies Plaintiff’s claims in their

entirety.

        Plaintiff alleges that Outdoor violated the “Exclusivity” section of the Term Sheet (which

obligated Outdoor to communicate and negotiate only with PNC and Plaintiff between February

27 and April 15, 2013 for sale of the Aerial Camera Business). (Id. at ¶¶ 25–27, App. 014–16).

However, the unrefuted evidence is that Outdoor did not communicate or negotiate with anyone

other than Plaintiff and PNC to sell the Aerial Camera Business after February 27, 2013 and

in fact Outdoor did not sell the Aerial Camera Business to anyone; indeed, a subsidiary of




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                3
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                   Page 11 of 58 PageID 5408


Outdoor continued to own the Aerial Camera Business after the merger with KSE. See infra

Section III.C.

       Plaintiff’s failure to acquire the Aerial Camera Business was not the result of any

interference by KSE or, as Plaintiff insists, because KSE was granted “veto” power over a sale of

the Aerial Camera Business. (See Ex. A-1, SAC ¶¶ 8, 42, 51, ECF #63, App. 010, 020, 022).

Indeed, the undisputed evidence shows just the opposite—that if Plaintiff, PNC and Outdoor had

reached definitive agreements consistent with the provisions of the Term Sheet, KSE would have

consented to the sale. (See Ex. A-3, Transcript of August 30, 2018 Deposition of James Martin

(“Martin Tr.”) at 49:3–50:4, App. 042–43). However, PNC and Plaintiff never reached an

agreement with Outdoor for the sale of the Aerial Camera Business, and thus there was never a

definitive agreement to which KSE was asked to consent. (See Ex. A-4, Plaintiff’s Supplemental

Responses To Defendants’ Requests For Admission (“Plaintiff’s Admissions”) No. 2, App. 049).

Moreover, as PNC representative Jeff Holowaty testified, and as explained below, PNC and

Plaintiff never secured funding for the entire purchase price of the Aerial Camera Business. (Ex.

A-5, Transcript of July 17, 2018 Deposition of Jeff Holowaty (“Holowaty Tr.”) at 117:12–118:15,

App. 073–74).

       Plaintiff’s theory in this case also is utterly inconsistent with the very language in the Term

Sheet that he and PNC drafted; namely, that until such time as definitive agreements (e.g., an asset

purchase agreement) were signed, any party could terminate negotiations for any reason, or for no

reason, and without liability. (Ex. A-2, SAC, Ex. A, ECF #63, App. 035). Plaintiff may be

disappointed that he was unable to purchase the Aerial Camera Business, but his belief that he had

some irrefutable right to do so is without any legal basis or evidentiary support.




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                4
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                 Page 12 of 58 PageID 5409


       The undisputed evidence in this case demonstrates conclusively that: (1) Outdoor did not

breach the “Exclusivity” section of the Term Sheet; (2) KSE did not induce Outdoor to violate any

provision of the Term Sheet or otherwise prevent Plaintiff from reaching an agreement with

Outdoor to acquire the Aerial Camera Business; and (3) neither Outdoor nor KSE ever worked in

secret with PNC or “conspired” to undermine Plaintiff’s “rights” under the Term Sheet. There is

no dispute of material fact on these issues and the Court should enter judgment in favor of

Defendants on each of Plaintiff’s claims.3

                       III. STATEMENT OF UNDISPUTED FACTS

A.     THE PARTIES

       Outdoor owns and operates Outdoor Channel, a cable television network that provides

programming related to a wide range of outdoor activities such as hunting and fishing. (Ex. A-9,

Transcript of June 20, 2018 Deposition of Thomas Allen (“Allen Tr.”) at 29:12–23, App. 140).

Prior to May 17, 2013, Outdoor was a publicly-traded company, whose stock was traded on the

Nasdaq stock exchange. (Ex. A-3, Martin Tr. at 159:15–24, App. 044).

       Outdoor also owned and operated the Aerial Camera Business. (Ex. A-10, Transcript of

August 22, 2018 Deposition of David Gluck (“Gluck Tr.”) at 31:7–15, App. 148). The Aerial

Camera Business provides remotely controlled aerial camera services used in the production of

sporting and entertainment events. (Ex. A-11, Transcript of June 13, 2018 Deposition of Thomas


3  Soon after discovery commenced, Defendants learned that Plaintiff had misappropriated
voluminous amounts of documents and information from Defendants and the Aerial Camera
Business prior to being terminated in May 2014, and provided various of that information to his
lawyers to use in preparing Plaintiff’s Complaints in this case. (See Ex. A-6, ECF #94, App. 075–
95). This discovery in December 2017 led to a number of filings and additional discovery aimed
at determining the scope of Plaintiff’s misconduct and appropriate sanctions therefor. (See, e.g.,
Exs. A-6 & A-7, ECF #94 & #102, App. 075–117). Currently pending before the Court is
Defendants’ motion to dismiss Plaintiff’s claims as a sanction for his misappropriation and use of
Defendants’ documents and information (consistent with how other courts have addressed such
misconduct). (See Ex. A-8, ECF #232, App. 118–137).


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                            5
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                 Page 13 of 58 PageID 5410


Hornish (“Hornish Tr.”) at 23:13–24:18, App. 160–61). Plaintiff was President of the Aerial

Camera Business from 2009 until May 2014, when his employment was terminated for

performance reasons. (See Ex. A-10, Gluck Tr. at 228:9–229:12, App. 156–57).

       KSE is a Denver, Colorado-based sports and entertainment holding company. (Ex. A-3,

Martin Tr. at 16:6–16, App. 038). On May 17, 2013, a KSE subsidiary acquired all of Outdoor’s

outstanding public stock and Outdoor merged into that subsidiary. (Id. at 159:15–24, App. 044).4

B.     OUTDOOR’S POTENTIAL SALE OF THE AERIAL CAMERA BUSINESS

       1.      Outdoor Considers Selling The Aerial Camera Business, While Also Receiving
               And Considering Offers To Sell Itself

       In 2012, Outdoor commenced efforts to explore strategic alternatives for the Aerial Camera

Business, including a potential sale of the Aerial Camera Business. (Ex. A-11, Hornish Tr. at

24:19–25:2, App. 161–62). Outdoor retained Noble Capital Markets (“Noble”), an investment

banking firm, to assist it with finding potential buyers. (Id. at 27:20–25, App. 163). Outdoor and

Noble met and communicated with various potential buyers between June 2012 and February 27,

2013. (Ex. A-13, Transcript of July 11, 2018 Deposition of Tim McQuay (“McQuay Tr.”) at

68:11–79:3, App. 186–97).

       Outdoor also discussed the possibility of Plaintiff acquiring the Aerial Camera Business if

he could assemble an investment group to fund the acquisition. (Ex. A-11, Hornish Tr. 98:3–15,

App. 173). Plaintiff did not have the financial resources to fund such an acquisition by himself.

(Ex. A-4, Plaintiff’s Admission No. 26, App. 055).




4 PNC also is a defendant in this case. (See Ex. A-1, SAC ¶ 4, ECF #63, App. 009). PNC was a
real estate and private equity investment firm (it is now defunct) that worked with Plaintiff on a
potential purchase of the Aerial Camera Business from Outdoor. (Ex. A-5, Holowaty Tr. at 12:12–
20; 33:22–34:10, App. 061–63). PNC did not file a response to Plaintiff’s SAC and an entry of
default against PNC was entered on November 6, 2017. (See Ex. A-12, ECF #84, App. 182–83).


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                            6
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                 Page 14 of 58 PageID 5411


       While Outdoor explored a possible sale of the Aerial Camera Business, Outdoor itself also

received offers to merge with or be acquired by other companies. (Ex. A-11, Hornish Tr. at 49:17–

21, App. 164). On November 15, 2012, Outdoor entered into a merger agreement with InterMedia

Outdoor Holdings, LLC (“InterMedia”), pursuant to which InterMedia would acquire all of

Outdoor’s outstanding common stock (the “InterMedia Merger Agreement”).               (Ex. A-14,

November 15, 2012 Agreement and Plan of Merger, App. 198–212). On February 12, 2013,

Outdoor issued a proxy statement relating to the InterMedia Merger Agreement which, among

other things, acknowledged that Outdoor was “exploring strategic alternatives” for the Aerial

Camera Business (the “February 12 Proxy Statement”). (Ex. A-15, February 12, 2013 Outdoor

Proxy Statement, App. 213–20). However, as Plaintiff has admitted, the February 12 Proxy

Statement did not state that Outdoor definitely or even likely would sell the Aerial Camera

Business either before or after the close of the InterMedia merger. (Ex. A-16, Transcript of May

16, 2018 Deposition of Nicolas Salomon (“Salomon May Tr. Vol. I”) at 100:16–102:11, App.

223–25). Indeed, the February 12 Proxy Statement noted that the sale process “[was] still

ongoing.” (Ex. A-15, February 12, 2013 Outdoor Proxy Statement, App. 219).

       2.      Outdoor Signs A Nonbinding Term Sheet With Plaintiff And PNC

       On January 16, 2013, Jeff Holowaty of PNC sent Noble a copy of “our term sheet to acquire

the ownership interest of Skycam and Cablecam.” (Ex. A-17, Transcript of May 16, 2018

Deposition of Nicolas Salomon (“Salomon May Tr. Vol. II”) at 138:18–139:6, App. 240–41; Ex.

A-18, Depo Ex. 26, App. 256–61). Plaintiff and PNC prepared this initial draft of the term sheet.

(Ex. A-17, Salomon May Tr. Vol. II at 130:17–139:6, App. 232–41). Plaintiff forwarded the draft

term sheet to Tom Hornish, Outdoor’s CEO, and Tom Allen, Outdoor’s CFO. (Id. at 139:7–9,

App. 241). Following negotiations between PNC and Noble regarding price and other terms of

the potential acquisition, Jeff Holowaty sent Noble a revised draft of the term sheet, on February


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                            7
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                   Page 15 of 58 PageID 5412


5, 2013. (Id. at 151:9–152:6, App. 242–43). Outdoor provided a revised draft on February 8,

2013, and negotiations continued regarding working capital and other issues. (Id. at 167:9–168:21,

App. 244–45).

       On February 27, 2013, Outdoor, Plaintiff, and PNC executed the Term Sheet, which was

intended to “evidence the intention of PNC [defined in the Term Sheet as Plaintiff and Pacific

Northern Capital] to proceed with negotiations designed to complete a purchase of the [Aerial

Camera Business] substantially in the manner outlined [therein].” (Ex. A-2, SAC, Ex. A, ECF

#63, at 1, App. 032). The Term Sheet set forth parameters of a potential sale of the Aerial Camera

Business to an “Acquisition entity (the “Purchaser”) to be formed by PNC in conjunction with

[Plaintiff],” including a purchase price of up to $4.05 million. (Id., App. 032).

       With the exception of certain specified provisions in the “Exclusivity” section, the Term

Sheet was expressly nonbinding and “[did] not constitute a binding contractual commitment with

respect to any transaction.” (Id. at 4, App. 035). The Term Sheet made clear that Outdoor was

under no existing obligation to sell the Aerial Camera Business to Plaintiff and PNC:

       A legally binding obligation with respect to the investment contemplated hereby
       will arise only upon execution and delivery of definitive documents by Outdoor
       Channel and Purchaser, subject to the terms and conditions set forth therein.
       Accordingly, until definitive agreements are entered into, except as expressly set
       forth above, no party will be under any legal obligation with respect to this Term
       Sheet, and no withdrawal from or termination of negotiations for the transaction
       contemplated by this [T]erm [S]heet prior to signing definitive agreements, for
       whatever reason, or for no reason, shall be determined to be in bad faith and any
       such withdrawal or termination shall not give any party a cause of action against
       the other party.

(Id., App. 035 (emphasis added)). Indeed, the parties specifically agreed that “the failure of

Outdoor Channel and Purchaser to reach agreement on the terms and conditions of definitive

agreements in accordance with this Term Sheet shall not be construed as a breach of this Term

Sheet by any party hereto.” (Id., App. 035 (emphasis added)). Thus, prior to the signing of



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                            8
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                    Page 16 of 58 PageID 5413


“definitive agreements,” Outdoor could withdraw from negotiations at any time, for any reason,

or for no reason, and without liability. As Plaintiff admits, Outdoor, Plaintiff and PNC never

signed definitive agreements, and thus Outdoor was free to terminate negotiations at any time.

(Ex. A-4, Plaintiff’s Admission No. 3, App. 049). That said, the undisputed evidence is that

Outdoor remained willing to negotiate with Plaintiff and PNC for potential sale of the Aerial

Camera Business right up to the May 17, 2013 merger of Outdoor with the KSE subsidiary. (Ex.

A-19, Transcript of June 12, 2018 Deposition of Cathy Lee (“Lee Tr.”) at 42:23–43:9, App. 264–

65).

       The only binding provision of the Term Sheet was the “Exclusivity” section. That section

required Outdoor to negotiate exclusively with Plaintiff and PNC for a specified period. More

specifically, Outdoor agreed that until April 15, 2013, it would not directly or indirectly:

       (i)     Solicit, facilitate, encourage, or accept an offers to acquire any equity or
       debt interest in [the Aerial Camera Business] or the whole or any material part of
       the assets of the business of [the Aerial Camera Business], nor engage or procure
       any person to do so on their behalf;

       (ii)    Negotiate or correspond with third parties in relation to existing or
       unsolicited offers to acquire the equity or debt interest or any part of the business
       of [the Aerial Camera Business], other than to advise them that exclusive
       discussions are being pursued with another party (but in no event shall Purchaser’s
       identity be disclosed), nor engage or procure any person to do so on its behalf;

       (iii)   Sell or agree to sell any equity or debt interest (including any new issue of
       debt or equity) in any part of the [Aerial Camera Business] to any other party than
       Purchaser or its nominee, and Outdoor Channel and its subsidiaries will procure
       that their respective directors, officers, affiliates, employees, advisors and
       representatives will also act accordingly.

(Ex.A-2, SAC, Ex. A at 3, ECF #63, App. 034). Outdoor also agreed that it would “cease any

negotiations, discussions or correspondence which they are having, whether directly or indirectly,

in relation to the potential acquisition of an equity or debt interest in the [Aerial Camera Business]”




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                 9
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 17 of 58 PageID 5414


with third parties and would advise such parties that exclusive discussions were being pursued,

without disclosing the identity of the “Purchaser.” (Id., App. 034)

       These Non-Binding and Exclusivity sections, which lie at the heart of this case, were

drafted in their entirety by Plaintiff and PNC. The language of these sections in the executed

version of the Term Sheet is identical to that which appeared in the version that PNC and Plaintiff

provided to Noble and Outdoor on January 16, 2013. (Compare Ex. A-18, Salomon May Tr. Vol.

II, Depo Ex. 26, App. 258–61 with Ex. A-2, SAC, Ex. A at 3, ECF #63, App. 034). Indeed, Plaintiff

admits that he was responsible for drafting the language of these relevant provisions. (Ex. A-17,

Salomon May Tr. Vol. II at 128:22–25, App. 231; Ex. A-4, Plaintiff’s Admission No. 1, App. 049).

       On February 26, 2013, Outdoor CEO Tom Hornish signed the Term Sheet on behalf of

Outdoor. (See Ex. A-2, SAC, Ex. A at 4, ECF #63, App. 035). Plaintiff and PNC Managing

Director Kelly Holowaty each signed the Term Sheet the next day on behalf of an unnamed and

unformed “Purchaser.” (Id., App. 035). The Term Sheet specified that it could not be “amended

or modified except by a writing signed by each of the parties [thereto].” (Id., App. 035).

       3.      Outdoor Continues To Negotiate With Plaintiff And PNC Regarding A Sale
               Of The Aerial Camera Business Even After KSE Makes An Unsolicited Offer
               To Acquire Outdoor

       On February 27, 2013, the same day that the Term Sheet was fully executed, KSE made an

unsolicited, preliminary offer to purchase all of Outdoor’s outstanding public stock. (Ex. A-11,

Hornish Tr. at 60:21–61:6, App. 167–68). Outdoor’s Board of Directors considered the offer and

deemed it superior to the offer that InterMedia had made in November 2012. (Id. at 61:11–13,

App. 168). KSE’s preliminary offer was announced publicly on March 1, 2013, and on March 13,

2013, KSE and Outdoor entered into a binding merger agreement (the “KSE Merger Agreement”).

(Ex. A-20, March 13, 2013 Agreement and Plan of Merger, App. 280–92).




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                            10
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 18 of 58 PageID 5415


       Even after entering into a merger agreement with KSE, Outdoor continued to negotiate a

potential sale of the Aerial Camera Business with Plaintiff and PNC. (Ex. A-19, Lee Tr. at 98:7–

12, App. 279; Ex. A-1, SAC ¶ 32, App. 017). On March 5, 2013, Outdoor provided Plaintiff and

PNC with a draft Asset Purchase Agreement. (See Ex. A-11, Hornish Tr. at 56:8–24, App. 165;

Ex. A-21, Depo. Ex. 107, App. 293–333). Plaintiff and PNC responded to Outdoor’s proposed

Asset Purchase Agreement with a heavily revised draft, which Mr. Hornish described during his

deposition as “a sea of red.” (See Ex. A-11, Hornish Tr. at 57:4–12, App. 166). Mr. Hornish

explained that “the changes were – it was so much different than what we were thinking, that we

never had a meeting of the minds.” (Id., App. 166). Likewise, Ms. Lee described Plaintiff’s and

PNC’s revisions as “very, very, very extensive” and that Outdoor, Plaintiff, and PNC were not

“anywhere close” to finalizing an agreement. (Ex. A-19, Lee Tr. at 42:1–17, App. 264; Ex. A-22,

Depo. Ex. 108, App. 334–400). Nevertheless, Outdoor remained willing to try and work out a

final Asset Purchase Agreement. (Ex. A-11, Hornish Tr. at 57:13–17, App. 166; Ex. A-19, Lee

Tr. at 42:3–43:9, App. 264–65).

       In fact, Outdoor attempted to provide Plaintiff and PNC with more time in which to reach

an agreement by agreeing to extend the exclusivity period by another month. On March 21, 2013,

Outdoor and PNC signed a letter purporting to extend the Term Sheet’s exclusivity period from

April 15, 2013 to May 15, 2013 (the “March 21 Letter”). (Ex. A-23, ECF #63, Ex. L, App. 401–

03). This Letter also provided that “if, at any point during the exclusivity period, [KSE]

conclude[d] that it [would] not consent to the Proposed Transaction, PNC [would] release

[Outdoor] from its exclusivity obligations.” (Id., App. 402). The March 21 Letter was signed by

Tom Hornish on behalf of Outdoor, and Kelly Holowaty on behalf of PNC, but was not signed by

Plaintiff. (Id., App. 403). Plaintiff admits that without his signature, the March 21 Letter was not




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                             11
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 19 of 58 PageID 5416


effective and did not modify the Term Sheet. (Ex. A-17, Salomon May Tr. Vol. II at 203:22–

204:4, App. 249–50; Ex. A-4, Plaintiff’s Admission No. 39, App. 057).

       From this attempt to extend the Term Sheet’s exclusivity period and provide more time for

negotiations to continue, Plaintiff infers a vast conspiracy—one that months of discovery (and the

over 21 GB of documents that Plaintiff stole before filing suit) has failed to substantiate. First,

Plaintiff claims that the Letter was executed in “secret” and that Outdoor and PNC deliberately

tried to cut him out. (Ex. A-1, SAC ¶ 12, ECF #63, App. 011; Ex. A-17, Salomon May Tr. Vol. II

at 199:2–7, App. 248). However, both Outdoor and PNC have stated that the failure to obtain

Plaintiff’s signature on the March 21 Letter was unintentional. (See Ex. A-5, Holowaty Tr. at

95:24–98:4, App. 067–70; Ex. A-11, Hornish Tr. at 104:9–106:4, App. 177–79; Ex. A-19, Lee Tr.

at 61:15–62:21, App. 269–70). The Outdoor personnel involved in preparing the Letter have all

testified that Plaintiff’s omission was an oversight, that they believed PNC was acting on behalf

of the “Purchaser,” which included both PNC and Plaintiff, and that PNC would have informed

Plaintiff about the March 21 Letter. (Ex. A-11, Hornish Tr. at 76:3–77:12, 103:15–106:4, App.

169–70, 179–79; Ex. A-19, Lee Tr. at 61:15–62:21, App. 269–70). In fact, after Outdoor realized

the omission, they attempted to correct the oversight by obtaining Plaintiff’s agreement to the

March 21 Letter. (Ex. A-11, Hornish Tr. at 100:19–101:8, App. 174–75). Plaintiff refused, and

thus the expiration of the exclusivity period remained April 15, 2013. (Ex. A-17, Salomon May

Tr. Vol II at 203:22–204:4, App. 249–50). Plaintiff has no evidence showing that Outdoor and

PNC purposely attempted to execute the Letter for any nefarious reason.

       The undisputed evidence also reveals that KSE had no involvement with the March 21

Letter, and did not even know about it until after the fact. Indeed, Catherine Lee, Outdoor’s former

general counsel, testified that she drafted the Amendment without ever discussing it with KSE.




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                             12
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 20 of 58 PageID 5417


(Ex. A-19, Lee Tr. at 60:13–61:5; 87:21–88:11, App. 268–69, 273–74). Mr. Gluck of KSE

likewise testified that he had no involvement regarding the Letter and was not aware of its

existence until after it had been signed. (Ex. A-10, Gluck Tr. at 82:1–83:5; 86:14–23, App. 152–

54).

       4.      Plaintiff And PNC Fail To Sign Definitive Agreements With Outdoor For The
               Sale Of The Aerial Camera Business

       Outdoor continued to negotiate with Plaintiff and PNC regarding a sale of the Aerial

Camera Business even after receiving KSE’s unsolicited offer and entering into a merger

agreement with KSE. It is not the case, as Plaintiff has alleged, that Outdoor “allowed KSE to

refuse to consummate the sale of the Aerial Camera Business as outlined in the term sheet.”

Rather, the undisputed evidence demonstrates conclusively that Outdoor negotiated with Plaintiff

and PNC in good faith, but there was never a definitive sale agreement for KSE to even consider.

       Indeed, Plaintiff admits that a final agreement was never reached with Outdoor, and thus

KSE was never in a position to “refuse” to consent to a sale of the Aerial Camera Business to

Plaintiff. (See Ex. A-17, Salomon May Tr. Vol. II at 286:24–287:6, App. 254–55). Plaintiff

further admits that after he became aware of the March 21 Letter on April 9, 2013, his relationship

with PNC deteriorated and their efforts towards preparing an agreement to present to Outdoor also

broke down. (Ex. A-24, Transcript of May 17, 2018 Deposition of Nicolas Salomon (“Salomon

May Tr. Vol. III”) at 389:14–18, App. 408).

       Moreover, Plaintiff and PNC were not even able to reach an agreement among themselves

as to how an acquisition would be financed, the structure of the acquisition entity, or how

ownership of the acquisition entity would be shared. Plaintiff and PNC never formed the

“Purchaser” contemplated by the Term Sheet and never agreed on an equity structure for the

Purchaser. (Ex. A-17, Salomon May Tr. Vol. II at 217:4–218:15, App. 251–52; Ex. A-24,



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                            13
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                    Page 21 of 58 PageID 5418


Salomon May Tr. Vol. III at 415:18–416:13, App. 410–11).                 Jeff Holowaty, the PNC

representative extensively involved in the negotiations with Plaintiff and Outdoor, also testified

that PNC was not willing itself to finance the entire acquisition of the Aerial Camera Business,

and that while additional investors were solicited, no other potential investors agreed to contribute

any funding. (Ex. A-5, Holowaty Tr. at 50:17–52:23, App. 064–66).

       Furthermore, the undisputed evidence is that if Plaintiff and PNC had presented Outdoor

with a definitive agreement consistent with the Term Sheet, KSE would have consented to the sale.

James Martin, KSE’s President and CEO, was responsible for deciding whether to consent to any

sale of the Aerial Camera Business. (Ex. A-3, Martin Tr. at 50:5–13, App. 043). When asked

about KSE’s position prior to May 17, 2013 (when the acquisition of Outdoor closed) regarding

any sale of the Aerial Camera Business to Plaintiff and PNC, Mr. Martin responded: “Outdoor

management was negotiating the deal. I did not insert myself in the negotiations. If they had

brought a deal to us, [and] it was in compliance with the term sheet, we would have approved the

deal.” (Id. at 49:3–12, App. 042).

       It is crystal clear what Plaintiff is attempting to do in this case. Because he and PNC could

not reach agreement amongst themselves on fundamental aspects of their relationship (e.g., the

equity structure of any acquisition entity or even the legal structure of the acquisition entity),

because funding for the acquisition could not be fully secured, because Plaintiff and PNC could

not come to terms on definitive purchase agreements with Outdoor, and because the very language

drafted by Plaintiff and PNC allowed Outdoor under the circumstances to terminate negotiations

with Plaintiff and PNC at any time without liability, Plaintiff attempts to invent a case out of whole

cloth, the facts and evidence be damned. It is time for this charade to end.




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                               14
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 22 of 58 PageID 5419


C.     KSE ACQUIRES OUTDOOR AND RELEVANT POST-ACQUISITION FACTS

       As explained above, KSE made an unsolicited preliminary offer to acquire Outdoor on

February 27, 2013 and executed the KSE Merger Agreement on March 13, 2013. (Ex. A-10, Gluck

Tr. at 43:9–16, 74:6–18, App. 149, 151). On April 30, 2013, InterMedia made another offer to

acquire Outdoor at a higher per share price than KSE’s initial offer. (Ex. A-25, Transcript of June

7, 2018 Deposition of Roger Werner (“Werner Tr.”) at 51:9–52:6, App. 416–17; Ex. A-26, Depo

Ex. 84, App. 422–27). In response, on May 2, 2013, KSE increased its offer to Outdoor. (Ex. A-

26, Depo Ex. 84, App. 424). Between May 3 and May 8, 2013, KSE and InterMedia made still

further competing offers to acquire Outdoor. (Id., App. 424). On May 8, 2013, Outdoor’s Board

determined that KSE’s final offer of $10.25 per share was in the best interest of Outdoor’s

shareholders, and the KSE Merger Agreement was amended to reflect the increased cash

consideration. (Id., App. 424).

       On May 17, 2013, Outdoor’s stockholders voted in favor of the KSE Merger Agreement,

a KSE subsidiary acquired all of Outdoor’s outstanding public stock the same day, and Outdoor

was merged into that subsidiary.       (Ex. A-3, Martin Tr. at 159:15–160:2, App. 044–45).

Throughout this entire process, the Aerial Camera Business remained a wholly-owned subsidiary

of Outdoor; in other words, Outdoor never sold the Aerial Camera Business to anyone. (Id. at

37:12–16, App. 039).

       Sometime after May 17, 2013, the decision was made that Outdoor would not sell the

Aerial Camera Business to Plaintiff and PNC, or to any other buyers who had expressed interest

in the business. (Ex. A-3, Martin Tr. at 47:16–48:18, App. 040–41). In any event, the exclusivity




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                            15
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 23 of 58 PageID 5420


provisions of the Term Sheet had long since expired on April 15, 2013.5 (Ex. A-24, Solomon May

Tr. Vol. III at 392:9–18, App. 409).

       Plaintiff remained the President of the Aerial Camera Business for roughly another year

after KSE’s acquisition of Outdoor. (Ex. A-10, Gluck Tr. at 227:11–17, App. 155). KSE

eventually determined in May 2014 to terminate Plaintiff’s employment because, among other

reasons, “he was constantly not doing what he was asked to do to the point of almost

insubordination” and his superiors had “the feeling that he was never honest with anybody in the

company.” (Id. at 228:13–229:12, App. 156–57).

                                        IV. ARGUMENT

A.     STANDARDS GOVERNING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Summary judgment shall be rendered when the pleadings, depositions, answers to

interrogatories, and admissions on file, together with any affidavits, show that there is no genuine

issue of material fact and the moving party is entitled to judgment as a matter of law. See FED. R.

CIV. P. 56(c); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The party moving for

summary judgment bears the burden of demonstrating “the absence of a genuine issue for trial and

identifying those portions of the record that demonstrate such absence.” See Celotex, 477 U.S. at

323; Sanchez v. Target Corp., 3:15-CV-1034-P, 2016 WL 3453635, at *1 (N.D. Tex. Jan. 20,

2016). In considering the motion, the court views the evidence “in the light most favorable to the

[nonmoving party].” United States v. Diebold, Inc., 369 U.S. 654, 655 (1962).

       When the party seeking summary judgment makes an initial showing, the nonmoving party

must come forward with “competent summary judgment evidence” demonstrating the existence




5Even if the March 21 Letter had been effective, which the parties agree it was not, it would have
extended the exclusivity period of the Term Sheet only to May 15, 2013.


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                             16
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                   Page 24 of 58 PageID 5421


of a genuine fact issue. Sanchez, 2016 WL 3453635, at *1. The nonmoving party cannot defeat

the motion unless he comes forward with specific evidence demonstrating a genuine issue of

material fact such that a reasonable jury might return a verdict in his favor. Id. (citing Anderson

v. Liberty Lobby, Inc., 47 U.S. 242, 247–48 (1986)).

          “Even if there is a dispute regarding some material facts, a movant may obtain summary

judgment if he can prove there is no evidence to support one or more essential elements of the non-

moving party’s claim.” Walker v. Geithner, 400 F. App’x 914, 916 (5th Cir. 2010) (per curiam)

(emphasis added). As explained below, Defendants are entitled to summary judgment on each of

Plaintiff’s claims.

B.        OUTDOOR DID NOT BREACH THE EXCLUSIVITY SECTION OF THE TERM SHEET

          1.     Applicable Law

          Count 1 of the SAC is a breach of contract claim against Outdoor predicated on the

“Exclusivity” section of the Term Sheet. “Under Texas law6, ‘[t]he elements of a breach of

contract claim are (1) the existence of a valid contract between plaintiff and the defendant; (2) the

plaintiff’s performance or tender of performance; (3) the defendant’s breach of the contract; and

(4) the plaintiff’s damage as a result of the breach.’ ” Kellermann v. Avaya, Inc., 530 F. App’x

384, 388 (5th Cir. 2013) (citing In re Staley, 320 S.W.3d 490, 499 (Tex. App.—Dallas 2010, no

pet.)).



6 Based on previous briefing, the parties agree that Texas law governs Plaintiff’s breach of contract
claim, as well as his various other tort claims. (See Ex. A-27, Defendants’ Motion To Dismiss
Plaintiff’s Second Amended Complaint, ECF #74, App. 428–52; Ex. A-28, Plaintiff’s Response
To Defendants’ Motion To Dismiss, ECF #80, App. 453–82). In the absence of a choice of law
provision in the Term Sheet, Texas’s “most significant relationship test” determines which State’s
law governs the claims in this diversity action. Spence v. Glock, Ges.m.b.H., 227 F.3d 308, 311
(5th Cir. 2000). Given that Plaintiff is a Texas resident and the Aerial Camera Business is based
in Texas, Texas law bears the most significant relationship with the claims and issues presented in
this case.


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                              17
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                   Page 25 of 58 PageID 5422


       “Whether a party has breached a contract is a question of the law for the court, not a

question of fact for the jury.” Id. (quoting Meek v. Bishop Peterson & Sharp, P.C., 919 S.W.2d

805, 808 (Tex. App.—Houston [14th Dist.] 1996, writ denied)). The court determines what

conduct the contract requires of the parties, and submits disputed fact questions regarding a party’s

performance under the contract to the jury. Id. Thus, “[w]hile the factual determination of what

actions were taken [by the parties] is for the fact finder, whether those actions constitute a breach

of contract is a question of law for the court.” Id. (quoting In re Cano Petrol., Inc., 277 S.W.3d

470, 473 (Tex. App.—Amarillo 2009, orig. proceeding)).

       Under Texas law, a “court’s primary concern is to enforce the parties’ intent as

contractually expressed, and an unambiguous contract will be enforced as written.” Interstate

Contracting Corp. v. City of Dallas, Tex., 407 F.3d 708, 712 (5th Cir. 2005) (citing Leasehold

Expense Recovery, Inc. v. Mothers Work Inc., 331 F.3d 452, 456 (5th Cir. 2003)). If there is a

question regarding the contract’s construction, “the court examines the contract’s wording in

context of the surrounding circumstances.” Id. (citing Watkins v. Petro-Search, Inc., 689 F.2d

537, 538 (5th Cir. 1982)). “If the contract is then susceptible to only one interpretation, it is

unambiguous.” Id.

       2.      Texas And Fifth Circuit Law Do Not Support Plaintiff’s Breach Of Contract
               Or Other Theories

       Plaintiff’s claim that Outdoor violated the Term Sheet’s Exclusivity section is premised on

the theory that Outdoor’s conversations, negotiations, and eventual agreement with KSE regarding

KSE’s acquisition of all Outdoor stock ran afoul of the Exclusivity section’s prohibitions

concerning discussions and negotiations with third parties about a sale of the Aerial Camera

Business. Plaintiff necessarily reads the Exclusivity section’s language preventing Outdoor from

engaging in discussions or negotiations regarding an “acquisition of an equity or debt interest” in



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                              18
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                     Page 26 of 58 PageID 5423


the Aerial Camera Business as encompassing also the acquisition of an equity or debt interest in

Outdoor, the Aerial Camera Business’s parent company. However, such an interpretation conflicts

with Texas and Fifth Circuit law, as well as the plain language of that section and the intent of the

parties under the circumstances at the time the Term Sheet was drafted and executed.

        In Capital Parks, the Fifth Circuit considered and rejected substantially the same theory as

the one Plaintiff asserts in this case. 30 F.3d at 628–29. There the defendant, Southeastern,

contracted with Capital Parks, Inc. to grant Capital a right of first refusal to purchase Waco, one

of Southeastern’s wholly-owned subsidiaries. Id. at 628. Southeastern later received an offer from

a third party (Loewen) to purchase all of Southeastern’s outstanding stock. Id. Capital then sued

to enjoin the proposed transaction, arguing that the sale of Southeastern to Loewen triggered

Capital’s right of first refusal to purchase Waco. Id.

        In affirming the district court’s dismissal of Capital’s claim, the Fifth Circuit explained that

Waco was a separate legal entity from Southeastern and the language of Loewen’s offer

“contemplate[d] only a transfer of all of Southeastern’s stock and assets to Loewen.” Id. at 629.

“The Loewen offer merely involve[d] the transfer of the parent corporation’s stock and assets, and

therefore [did] not affect the ownership of assets held by the subsidiary.” Id. Accordingly, the

Loewen offer was “only a transfer of the control, but not the ownership, of Waco’s stock and

assets,” and did not trigger Capital’s right of first refusal. Id.; see also Engel v. Teleprompter

Corp., 703 F.2d 127, 131 (5th Cir. 1983) (holding that “transfer of the stock of a parent corporation

does not affect the ownership of assets held by a subsidiary” and reversing judgment granted to

holders of rights of first refusal in a subsidiary corporation whose parent company’s stock was

sold to a third party).




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                 19
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                    Page 27 of 58 PageID 5424


       Texas State courts also have recognized that parents and their subsidiaries are legally

distinct entities, and that a sale or transfer of ownership in a parent corporation does not implicate

rights or obligations concerning the subsidiary. In Docudata Records, the court reversed a

judgment awarded to a plaintiff who sought to recover under a bonus provision in his employment

contract that was triggered upon a sale of the defendant’s subsidiary (Docudata). 966 S.W.2d at

194–96. The plaintiff claimed that an exchange of stock in the subsidiary’s parent company (LRS)

with another corporation constituted a “sale” of Docudata, entitling him to receive a bonus. Id.

The court rejected this theory, observing that Docudata and LRS were legally distinct entities and

that “a sale of all stock in a corporation does not constitute a sale of the corporation’s assets.” Id.

at 197. The court explained that regardless of whether the stock exchange constituted a “sale” of

LRS, “LRS continued to own 100% of Docudata’s stock,” and “[a]s such, Docudata’s ownership

remained unaffected.” Id. at 198. Thus, the court concluded that Docudata never was sold and

the plaintiff was not entitled to recover under the bonus provision of his employment contract. Id.

at 198–99; see also Tenneco, 925 S.W.2d at 646 (affirming district court’s grant of summary

judgment to defendants upon determination that a transaction involving a corporation did not

trigger the plaintiffs’ preferential right to acquire an ownership interest in an asset owned by the

corporation).

       The situation here is substantially the same. The Aerial Camera Business was composed

of entities legally distinct from their parent company, Outdoor. While the Exclusivity section

prevented Outdoor from negotiating or agreeing to sell the Aerial Camera Business to anyone other

than Plaintiff, Capital Parks and Docudata make clear that a transaction involving a transfer of a

parent company’s assets and stock does not implicate those provisions. Thus, the various breaches

of the Exclusivity section that Plaintiff alleges relating to Outdoor’s dealings with KSE up to and




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                20
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                   Page 28 of 58 PageID 5425


including the eventual merger on May 17, 2013 in no way implicated or violated Outdoor’s

obligations under that section of the Term Sheet.

       3.      The Term Sheet Allowed Any Party To Terminate Negotiations Without
               Liability

       The Term Sheet also provided that “the failure of Outdoor Channel and Purchaser to reach

agreement on the terms and conditions of definitive agreements in accordance with this Term Sheet

shall not be construed as a breach of this Term Sheet.” (Ex. A-2, SAC, Ex. A at 4, ECF #63, App.

035). Outdoor could withdraw from or terminate negotiations with Plaintiff and PNC “for

whatever reason, or for no reason,” prior to the signing of “definitive agreements.” (Id., App. 035).

Plaintiff does not dispute that the parties never entered into a “definitive agreement” for the sale

of the Aerial Camera Business. (Ex. A-4, Plaintiff’s Admission Nos. 2–3, App. 049). So much

for Plaintiff’s breach of contract claim.

       4.      There Is No Disputed Issue Of Material Fact Regarding Outdoor’s Actions
               Related To The Term Sheet; Outdoor Did Not Breach The Term Sheet

       There is no material dispute of fact as to the actions taken by Defendants, Plaintiff, and

PNC relevant to Outdoor’s performance under the Term Sheet, and therefore the Court may decide

Plaintiff’s breach of contract claim as a matter of law. See Kellermann, 530 F. App’x at 388.

Further, there is no dispute that the Term Sheet was a nonbinding agreement, except as to its

Exclusivity section, which was only effective during a specified two and one-half month period

(i.e., until April 15, 2013). (Ex. A-4, Plaintiff’s Admission Nos. 4, 39, App. 050, 057). The only

issues to be decided are whether the Exclusivity section can be given the insupportable reading

advocated by Plaintiff—a reading with which not even the representative of PNC (Plaintiff’s

purported partner) agrees, (see Ex. A-5, Holowaty Tr. at 104:21–105:19, App. 071–72)—and

whether Outdoor complied with that section as properly construed. If the Court determines based




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                              21
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                     Page 29 of 58 PageID 5426


on the undisputed evidence that Outdoor did not breach the Exclusivity section, summary

judgment should be granted in favor of Outdoor on Count 1. See Geithner, 400 F. App’x at 916.

        In the SAC, Plaintiff alleges five separate ways in which Outdoor purportedly breached the

Exclusivity section of the Term Sheet; each of Plaintiff’s suggestions are belied by the undisputed

evidence, the law, and the plain language of that section. (Ex. A-1, SAC ¶ 51, ECF #63, App.

022).    According to Plaintiff, Outdoor breached by: (1) “negotiating, discussing, and

corresponding” with KSE regarding the sale of the Aerial Camera Business after February 27,

2013; (2) “agreeing to sell . . . the Aerial Camera Business to KSE” during the exclusivity period

of the Term Sheet; (3) “failing to cease negotiations and discussions with KSE regarding the

potential acquisition of an equity interest” in the Aerial Camera Business; (4) “disclosing to KSE

the existence of PNC and Plaintiff, and the details of the Term Sheet”; and (5) granting KSE the

right to “veto” the sale of the Aerial Camera Business to PNC and Plaintiff. (Ex. A-1, SAC ¶ 51,

ECF #63, App. 022). Defendants address each of these allegations in turn.

                a.      Outdoor’s Discussions With KSE Regarding a Potential Merger did not
                        Violate the Exclusivity Section of the Term Sheet

        Plaintiff proffers an insupportable reading of the Exclusivity section and the language that

Plaintiff and PNC drafted in its entirety. The Exclusivity section states that Outdoor would not

negotiate or correspond with third parties “in relation to existing or unsolicited offers to acquire

the equity or debt interest or any part of the business of [the Aerial Camera Business].” (Ex. A-2,

SAC, Ex. A at 3, ECF #63, App. 034). Similarly, that section states that Outdoor would cease

“negotiations, discussions, or correspondence which they are having, whether directly or

indirectly, in relation to the potential acquisition of an equity or debt interest in the [Aerial Camera

Business].” (Id.) The undisputed evidence reveals that Outdoor did not negotiate, discuss, or




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                 22
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 30 of 58 PageID 5427


correspond with KSE (or anyone else for that matter) about a sale of the Aerial Camera Business

after February 27, 2013.7

       Outdoor never engaged in any negotiation, discussion, or correspondence with KSE

relating to KSE acquiring an “equity or debt interest” in the Aerial Camera Business. All of

Outdoor’s discussions with KSE between February 27, 2013, when KSE made an unsolicited offer

to acquire Outdoor, and May 17, 2013, related to KSE’s efforts to acquire Outdoor. (Ex. A-19,

Lee Tr. at 84:19–24, App. 272). Plaintiff admits that he is unaware of Outdoor ever discussing,

negotiating, or corresponding with KSE after February 27, 2013 about KSE acquiring the Aerial

Camera Business directly and can produce no evidence indicating otherwise. (Ex. A-4, Plaintiff’s

Admissions Nos. 20–22, App. 053–54). Thus, Outdoor did not discuss, negotiate, or correspond

with a party other than Plaintiff and PNC about an acquisition of the Aerial Camera Business in

violation of the Term Sheet’s Exclusivity section. See supra Section IV.B.2 (explaining that an

acquisition of a parent corporation does not constitute an acquisition or change of ownership of

the subsidiary).

       Plaintiff may attempt to argue (as he has in discovery) that because the introductory clause

of the Exclusivity section uses the phrase “directly or indirectly” prior to describing the conduct

prohibited by that section through April 15, 2013, the Exclusivity section prohibits dealings

between KSE and Outdoor for the acquisition of all Outdoor stock. (See Ex. A-2, SAC, Ex. A at

3, ECF #63, App. 034; Ex. A-17, Salomon May Tr. Vol. II at 179:23–180:23, App. 246–47).

However, the linguistically sound reading of the Exclusivity section, particularly in light of the



7 In fact, although Outdoor received a term sheet from a third party for a potential purchase of the
Aerial Camera Business and for a higher purchase price on February 27, 2013 after the Term Sheet
was fully signed, Outdoor informed that third party that Outdoor already had entered into a term
sheet and could not discuss sale of the Aerial Camera Business with that third party. (See Ex. A-
9, Allen Tr. at 50:6–54:2, App.141–45).


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                             23
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                      Page 31 of 58 PageID 5428


case law discussed above in Section IV.B.2, is that the adverbs “directly or indirectly” modify only

the initial verbs in paragraphs (A)(i)–(iii), not the “acquire any equity or debit interest in the [Aerial

Camera Business]” language that comes later in those provisions. (Ex. A-2, SAC, Ex. A at 3, ECF

#63, App. 034). For example, while the Exclusivity section prevented Outdoor from “indirectly”

negotiating or discussing an acquisition of the Aerial Camera Business with a third party, through

an intermediary like Noble, it did not prohibit negotiations or discussions about a sale of Outdoor.

(Id., App. 034) Thus, paragraph (A)(ii) of the Exclusivity section applies only to negotiations or

correspondence with third parties relating to offers to directly acquire an “equity or debt interest”

in the Aerial Camera Business. (Id., App. 034) There is no evidence that Outdoor ever engaged

in such negotiations or correspondence with KSE or anyone other than Plaintiff and PNC after

February 27, 2013.

        Moreover, to the extent there is any ambiguity as to the scope of the Term Sheet’s

Exclusivity section, such language should be construed strictly against Plaintiff, who along with

PNC was the drafter of the entire section. See Orthoflex, Inc. v. Thermo Tek, Inc., Nos. 3:11–CV–

0870–D, 3:10–CV–2618–D, 2013 WL 4045206, at *3 (N.D. Tex. Aug. 9, 2013) (“[A] writing is

generally construed most strictly against its author and in such a manner as to reach a reasonable

result consistent with the apparent intent of the parties.”) (quoting Austin Co. v. Vaughn Bldg.

Corp., 643 S.W.2d 113, 115 (Tex. 1982)); Gonzalez v. Mission Am. Ins. Co., 795 S.W.2d 734, 737

(Tex. 1990) (“It is well-established law that where an ambiguity exists in a contract, the contract

language will be construed strictly against the party who drafted it since the drafter is responsible

for the language used.”). Moreover, the surrounding circumstances make clear that the Term Sheet

cannot have the meaning that Plaintiff would ascribe to it. See Interstate Contracting, 407 F.3d at

712 (holding that a contract’s wording may be considered in light of the surrounding circumstances




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                   24
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                   Page 32 of 58 PageID 5429


and will be deemed unambiguous if the contract is susceptible to only one meaning given those

circumstances).

       Two key contextual points establish that the Exclusivity section was intended to relate only

to a direct sale of the Aerial Camera Business, and not a sale of Outdoor. First, when Plaintiff

and PNC drafted the Term Sheet and the parties executed it, Outdoor already had agreed to sell all

of its stock to InterMedia. (Ex. A-19, Lee Tr. at 45:15–46:16, App. 266–67). Consequently,

Outdoor was in ongoing discussions with InterMedia relating to the acquisition. Further, had the

InterMedia Merger Agreement closed, InterMedia would have acquired Outdoor, which would

have included the Aerial Camera Business as subsidiaries of Outdoor in the event those

subsidiaries had not been sold. Thus, under Plaintiff’s view, any discussion between Outdoor and

InterMedia relating to the acquisition would have been a breach of the Exclusivity section.

Outdoor would not and did not agree to such terms.

       Second, the Outdoor Board had fiduciary duties to the Outdoor shareholders, including the

obligation to consider proposals for all Outdoor stock superior to the InterMedia offer. See

Paramount Commc’ns Inc. v. QVC Network Inc., 637 A.2d 34, 44 (Del. 1994) (“In the sale of

control context, the directors must focus on one primary objective—to secure the transaction

offering the best value reasonably available for stockholders—and they must exercise their

fiduciary duties to further that end.”). Plaintiff’s now contorted interpretation of the Exclusivity

section would result in a breach by the Board of its obligations to the Outdoor shareholders to

maximize the offer for Outdoor stock.

               b.      Outdoor did not Agree to Sell the Aerial Camera Business to KSE or
                       Anyone Else During the Term Sheet’s Exclusivity Period; in Fact,
                       Outdoor Never Agreed to do so at any Time After February 27, 2013

       Plaintiff’s claim that Outdoor breached the Exclusivity section by “agreeing to sell . . . the

Aerial Camera Business” to KSE during the exclusivity period is refuted by the simple and


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                              25
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                   Page 33 of 58 PageID 5430


undisputed fact that Outdoor never sold the Aerial Camera Business to anyone. (Ex. A-1, SAC ¶

25, ECF #63, App. 025). As discussed above, the transaction in which KSE acquired all of

Outdoor’s stock and assets did not constitute an agreement to sell Outdoor’s subsidiaries, the

Aerial Camera Business. See Capital Parks, 30 F.3d at 628–29; see also Tenneco, 925 S.W.3d at

645 (citations omitted) (“The purchaser of stock in a corporation does not purchase any portion of

the corporation’s assets[.]”); Docudata, 966 S.W.2d at 197 (“A purchase of stock in a corporation

does not constitute a purchase of the corporate assets. . . . Similarly, a sale of all the stock in a

corporation does not constitute a sale of the corporate assets.”). Indeed, when the exclusivity

period expired on April 15, 2013, the Aerial Camera Business remained wholly-owned

subsidiaries of Outdoor; and when Outdoor was acquired by and merged with a KSE subsidiary

on May 17, 2013, the Aerial Camera Business remained Outdoor subsidiaries. (See Ex. A-11,

Hornish Tr. at 107:19–108:10, App. 180–81). This fact alone demonstrates the fatal flaw in

Plaintiff’s breach of contract claim.

       Because Plaintiff cannot show that Outdoor disposed of the Aerial Camera Business to

KSE or anyone else (again, the Aerial Camera Business remained subsidiaries of Outdoor even

after the merger), he relies on a theory that the Exclusivity section prohibited Outdoor from

“indirectly” selling the Aerial Camera Business by selling its own stock to KSE or anyone else

without somehow “excluding” the Aerial Camera Business from the deal. (See Ex. A-24, Salomon

May Tr. Vol. III at 364:20–365:7, App. 406–07; Ex. A-10, Gluck Tr. at 68:15–20, App. 150).

Plaintiff’s theory is baseless for several reasons.

       First, the language of the Exclusivity section imposed no obligation on Outdoor to

“exclude” or “carve out” the Aerial Camera Business in the event that Outdoor sold itself to a third

party. The Exclusivity section says only that Outdoor could not sell or agree to sell an equity or




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                              26
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                   Page 34 of 58 PageID 5431


debt interest in the Aerial Camera Business, which Outdoor never did. (Ex. A-2, SAC, Ex. A at

3, ECF #63, App. 034). Even PNC, through its representative Jeff Holowaty, which was a

signatory to the Term Sheet and drafted the Exclusivity section along with Plaintiff in its entirety,

has testified that the Term Sheet did not require Outdoor to “carve the [A]erial [C]amera [B]usiness

out of any sale of its stock.” (See Ex. A-5, Holowaty Tr. at 104:21–105:6, App. 071–72).

       Second, under Plaintiff’s interpretation, Outdoor would have been in violation of the

Exclusivity section the moment the Term Sheet was signed, given that Outdoor had already agreed

to sell itself to InterMedia. (Ex. A-19, Lee Tr. at 45:15–46:16, App. 266–67). Plaintiff was aware

of the InterMedia Merger Agreement when he and PNC prepared the Term Sheet. (See Ex. A-16,

Salomon May Tr. Vol. I at 108:4–8, App. 228). To try and end run this result, Plaintiff claims that

the Aerial Camera Business was carved out of the InterMedia Merger Agreement, noting that the

February 12 Proxy Statement to Outdoor shareholders provided separate financial projections for

the Aerial Camera Business and the rest of Outdoor because Outdoor was exploring “strategic

alternatives” for the Aerial Camera Business through a process that was “still ongoing.” (Id. at

100:16–101:12, App. 223–24; Ex. A-15, February 12 Proxy Statement, App. 219). However,

neither the February 12 Proxy Statement nor the InterMedia Merger Agreement contained any

provision stating that the Aerial Camera Business would be sold before the close of the InterMedia

Merger Agreement; if the Aerial Camera Business was not sold it would have remained a

subsidiary of Outdoor at the time InterMedia acquired all Outdoor stock. (Ex. A-16, Salomon May

Tr. Vol. I at 106:22–107:5, App. 226–27).

       Third, under Plaintiff’s theory, which would treat the sale of an equity interest in Outdoor

as a sale of an equity interest in the Aerial Camera Business, Outdoor would have violated the

Term Sheet’s Exclusivity section by selling or issuing a single share of its own stock to a third




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                              27
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 35 of 58 PageID 5432


party or even to an Outdoor employee through an employee incentive plan—a truly absurd

proposition for a publicly traded company such as Outdoor. Again, Texas courts have recognized

that a “purchase of stock in a corporation does not constitute a purchase of the corporate assets.”

Docudata Records, 966 S.W.2d at 197 (citing Tenneco, 925 S.W.2d at 645).

        Fourth, Plaintiff’s interpretation is inconsistent with Delaware corporate law relating to

merger agreements and transactions, such as the one Outdoor entered into with KSE.8 Section

251(b) of Delaware’s General Corporation Law describes the process for effecting a merger.

Notably, in a merger, shares in the target company are either converted or exchanged; nowhere in

Section 251 do the words “sale” or “sell” appear. See DGCL § 251(b). Moreover, once a board

approves a merger agreement, it is not effective until it is approved by a vote of the corporation’s

shareholders. DGCL § 251(c). Thus, the KSE Merger Agreement was not effective until it was

approved by Outdoor’s stockholders. This did not take place until May 17, 2013—over one month

after expiration of the Term Sheet’s exclusivity period. Accordingly, even if the Outdoor-KSE

merger somehow constituted an “indirect” “sale” of the Aerial Camera Business, it did not take

place until after the exclusivity period had lapsed. (See Ex. A-2, SAC, Ex. A ECF #63, at 3, App.

034).

               c.      Outdoor and KSE Only Negotiated and Discussed KSE’s Interest in
                       Acquiring Outdoor—not the Aerial Camera Business

        Plaintiff’s allegation that Outdoor violated the Exclusivity section by “failing to cease

negotiations and discussions with KSE regarding the potential acquisition of an equity interest in

. . . the Aerial Camera Business” is substantially the same as his allegation that Outdoor violated



8 Outdoor Channel Holdings, Inc., Kroenke Sports & Entertainment, LLC, and the merger
subsidiary created by KSE, were all incorporated under Delaware law and Delaware corporate law
governed the KSE Merger Agreement. (See Ex. A-20, KSE Merger Agreement at 1, 59, App. 282,
289).


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                             28
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 36 of 58 PageID 5433


the Exclusivity section by “negotiating, discussing, and corresponding with KSE regarding the

sale of the Aerial Camera Business,” and fails for the same reasons. See supra Section IV.B.3.a.

The Exclusivity section only prohibited discussions or negotiations with third parties relating to

potential acquisition of the Aerial Camera Business; it did not prohibit any discussions or

negotiations relating to a sale of Outdoor stock. (Ex. A-2, SAC, Ex. A at 3, ECF #63, App. 034).

Outdoor’s discussions and negotiations with KSE all fell into the latter category, not the former.

KSE only ever offered to acquire all of Outdoor’s stock and never made any offer to acquire an

“equity or debt interest” in the Aerial Camera Business. (Ex. A-25, Werner Tr. at 109:8–110:12,

App. 418–19). Accordingly, Plaintiff cannot maintain a breach of contract claim on the ground

that Outdoor “fail[ed] to cease negotiations and discussions” regarding a potential acquisition of

the Aerial Camera Business, given the absence of any evidence that Outdoor ever engaged in such

negotiations in the first place. (Ex. A-19, Lee Tr. at 94:13–23, App. 275; Ex. A-1, SAC ¶ 51, ECF

#63, App. 022).

               d.      The Term Sheet did not Prevent Outdoor From Disclosing the Existence
                       of Plaintiff, PNC, or the Term Sheet to KSE

       For many of the same reasons already discussed, the fact that KSE became aware of

Plaintiff, PNC, or the Term Sheet does not constitute a breach of the Exclusivity section by

Outdoor.

       Section A(ii) of the Exclusivity section required Outdoor to refrain from engaging in

negotiations and discussions with third parties in relation to a potential acquisition of the Aerial

Camera Business, other than to advise such third parties that “exclusive discussions are being

pursued with another party” and “in no event [was] Purchaser’s identity [to] be disclosed.” (Ex.

A-2, SAC, Ex. A at 3, ECF #63, App. 034). Section B contains similar restrictions, requiring

Outdoor to cease any negotiations “in relation to the potential acquisition of an equity or debt



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                             29
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 37 of 58 PageID 5434


interest in the [Aerial Camera Business]” with “any other party than Purchaser.” (Id., App. 034)

The section further required Outdoor to “advise any such parties that exclusive discussions are

being pursued with another party” but that in no event would Purchaser’s identity be disclosed.

(Id. (emphasis added), App. 034)

       Both of these provisions restricted how Outdoor could communicate with third parties

interested in acquiring the Aerial Camera Business—a class of parties that did not include KSE,

whose only interest was in acquiring Outdoor. See Capital Parks, 30 F.3d at 628–29 (declining

to treat third party’s acquisition of parent company as an acquisition of the parent’s subsidiary).

Thus, the requirements in the Exclusivity section on how Outdoor was to deal with parties

interested in making competing offers for the Aerial Camera Business did not govern how or what

Outdoor could communicate with KSE. The fact that KSE became aware of Plaintiff, PNC, and

the Term Sheet during the course of performing due diligence in connection with the KSE Merger

Agreement therefore does not constitute a violation of the Term Sheet.

               e.      KSE Never “Vetoed” any Sale of the Aerial Camera Business Prior to the
                       Merger

       Plaintiff also claims that Outdoor breached the Exclusivity section because, he alleges, the

March 21 Letter impermissibly gave KSE “veto” rights over a sale of the Aerial Camera Business.

As discussed above, KSE was not a party to that Letter, did not participate in its drafting, and was

not even aware of its existence until after its execution. (Ex. A-10, Gluck Tr. at 82:1–7, App. 152;

Ex. A-19, Lee Tr. at 60:14–61:5, App. 268–69). Moreover, KSE was never asked to consent to

any sale; it could not “veto” that with which it was never presented. And the undisputed evidence

reveals that if KSE had been presented with an asset purchase agreement consistent with the Term

Sheet, KSE would have consented to a sale of the Aerial Camera Business to Plaintiff and PNC.




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                             30
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                   Page 38 of 58 PageID 5435


(Ex. A-3, Martin Tr. at 49:3–12, App. 042). Thus, even if the March 21 Letter was enforceable,

Plaintiff simply was not harmed thereby.

        Because Plaintiff lacks evidentiary support for his claim of an alleged breach of the

Exclusivity section of the Term Sheet by Outdoor, and relies on an untenable interpretation of that

section, the Court should grant Outdoor’s request for summary judgment on Count 1 of the SAC.

        5.        Plaintiff’s Alleged Damages Are Entirely Speculative And Without
                  Evidentiary Support

        Alternatively, even if Plaintiff were able to offer evidence sufficient to create a material

issue of fact as to whether Outdoor breached the Exclusivity section of the Term Sheet, summary

judgment still would be appropriate given that Plaintiff cannot offer sufficient evidence that he

was damaged by any purported breach. As the Fifth Circuit held in Geithner, “[e]ven if there is a

dispute regarding some material facts, a movant may obtain summary judgment if he can prove

there is no evidence to support one or more essential elements of the non-moving party’s claim.”

400 F. App’x at 916 (emphasis added). Thus, where a plaintiff fails to provide evidence that he

suffered damages as a result of an alleged breach, the defendant is entitled to summary judgment.

See Tollett v. JPMorgan Chase Bank, N.A., No. 11-14-00228-CV, 2016 WL 5340225, at *2–3

(Tex. App.—Eastland Sept. 22, 2016) (granting summary judgment to defendant on breach of

contract claim where plaintiffs “failed to bring forth any evidence to show that they had sustained

damages as a result of [defendant’s] alleged breach”); Clearview Props., L.P. v. Prop. Texas SC

One Corp., 287 S.W.3d 132, 139–140 (Tex. App.—Houston [14th Dist.] 2009) (“If the alleged

breach of contract did not cause the plaintiff’s damages, then there can be no recovery for breach

of contract.”).

        Here, Plaintiff cannot show that even if Outdoor breached the Exclusivity section of the

Term Sheet (and it did not), he suffered any damages as a result. More specifically, he cannot



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                             31
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 39 of 58 PageID 5436


prove that but for Outdoor’s interactions with KSE, he would have acquired the Aerial Camera

Business. Nor can Plaintiff show that KSE’s awareness of “the existence of PNC and [Plaintiff]”

or of the Term Sheet caused Plaintiff to suffer an injury of any kind. (Ex. A-1, SAC ¶ 51, ECF

#63, App. 022). Plaintiff and PNC never formed the “Purchaser” contemplated by the Term Sheet,

never agreed upon an equity structure for the Purchaser, and never reached agreement with

Outdoor and signed definitive documents (including as asset purchase agreement) to acquire the

Aerial Camera Business. (Ex. A-17, Salomon May Tr. Vol. II at 217:4–219:9, App. 251–53; Ex.

A-4, Plaintiff’s Admission No. 3, App. 049). As noted above, Outdoor remained willing to

negotiate with Plaintiff and PNC right up to the closure of the merger with a KSE subsidiary on

May 17, 2013. (Ex. A-19, Lee Tr. at 42:23–43:9, App. 264–65). Moreover, PNC representative

Jeff Holowaty testified that PNC was not going to fund the entire acquisition price, and while

Plaintiff and PNC tried to find other investors, they were unsuccessful; in other words, Plaintiff

was never in a position to consummate any purchase and cannot present any evidence of readily

available funds. (Ex. A-5, Holowaty Tr. at 50:17–52:23, App. 064–66). The inability of Plaintiff

and PNC to form the Purchaser, fund a purchase, and negotiate and sign definitive agreements

with Outdoor—failures that cannot be attributed to Defendants—demonstrate that even if

Outdoor’s discussions with KSE were prohibited under the Exclusivity section of the Term Sheet

(and they were not), they did not prevent a deal from happening. Plaintiff therefore cannot show

that he suffered any injury as a result of any alleged breach by Outdoor.

       Likewise, even if Plaintiff were able to establish that Outdoor granted KSE a “veto” right

and that doing so breached the Exclusivity section of the Term Sheet, he cannot show that he

suffered any damages as a result. (Ex. A-1, SAC ¶ 51, ECF #63, App. 022). For one thing, the

parties agree that the March 21 Letter was not binding because Plaintiff did not sign it. (Ex. A-4,




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                            32
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                   Page 40 of 58 PageID 5437


Plaintiff’s Admission No. 39, App. 057). Moreover, even if KSE possessed the power to “veto” a

sale of the Aerial Camera Business, Plaintiff makes no allegation and has no evidence that KSE

ever “vetoed” any sale of the Aerial Camera Business to Plaintiff and PNC (in fact, the undisputed

evidence is that KSE did not do so). (Ex. A-19, Lee Tr. at 80:4–15; 95:23–96:10, App. 271, 276–

77). As Plaintiff admits, he and PNC never reached definitive agreements with Outdoor for a sale

of the Aerial Camera Business.         (Ex. A-4, Plaintiff’s Admissions No. 2–3, App. 049).

Consequently, no agreements were ever presented to KSE that it could then “veto.” KSE personnel

even testified that if Outdoor and Plaintiff had reached definitive agreements consistent with the

Term Sheet, KSE would have approved the deal. (See Ex. A-3, Martin Tr. at 49:3–50:4, App.

042–43). Accordingly, Plaintiff cannot claim that he suffered any injury or damages as a result of

any purported “veto” right that KSE may have possessed.

       This failure by Plaintiff to demonstrate damages resulting from the alleged breach of

contract by Outdoor provides alternative, independent grounds on which to grant Outdoor’s

request for summary judgment on Count 1 of the SAC.

C.     KSE DID NOT TORTIOUSLY INTERFERE WITH AN EXISTING CONTRACT BETWEEN
       PLAINTIFF AND OUTDOOR

       1.      Applicable Law

       Count 2 of the SAC is a claim for tortious interference with an existing contract against

KSE. Under Texas law, such a tortious interference claim has four elements: “(1) that a contract

subject to interference exists; (2) that the alleged act of interference was willful and intentional;

(3) that the willful and intentional act proximately caused damage; and (4) that actual damage or

damage occurred.” ACS Investors, Inc. v. McLaughlin, 943 S.W.2d 426, 430 (Tex. 1997); see also

ThermoTek, Inc. v. WMI Enters., LLC, Civil Action No. 3:10-CV-2618-D, 2011 WL 1485421, at

*8 (N.D. Tex. Apr. 19, 2011). “Ordinarily, merely inducing a contract obligor to do what it has a



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                              33
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 41 of 58 PageID 5438


right to do is not actionable interference.” ACS Investors, 943 S.W.2d at 430 (citing C.E. Servs.

Inc. v. Control Data Corp., 759 F.2d 1241, 1248 (5th Cir. 1985)).

       2.      KSE Did Not Interfere With Any Contract Between Outdoor And Plaintiff,
               Or Induce Outdoor To Do Anything Regarding Attempted Sale Of The Aerial
               Camera Business

       Plaintiff’s claim against KSE for tortious interference with existing contract fails for many

of the same reasons discussed above in connection with Plaintiff’s breach of contract claim against

Outdoor. Plaintiff alleges that KSE “willfully and intentionally interfered with the Term Sheet’s

Exclusivity Provision,” by “induc[ing] or caus[ing] Outdoor to breach its contractual obligations

to negotiate exclusively with PNC and Plaintiff” and by “induc[ing] Outdoor to discuss and

negotiate the sale of the Aerial Camera Business and grant KSE the right to disapprove of the sale

to Plaintiff and PNC.” (Ex. A-1, SAC ¶ 55, ECF #63, App. 023). Plaintiff lacks any evidence

supporting his claims that Outdoor breached the Exclusivity section or that KSE was the cause.

       KSE could not have induced breach of the Exclusivity section because Outdoor did not

breach any contractual obligations it owed to Plaintiff thereunder. (Ex. A-19, Lee Tr. at 97:19–

98:6, App. 278–79; Ex. A-11, Hornish Tr. at 95:12–96:4, App. 171–72). Outdoor simply did not

breach the Exclusivity section. See supra Section IV.B. Therefore, any claim premised on KSE

having “induced” or “caused” such a breach also must fail. See New York Life Ins. Co. v. Miller,

114 S.W.3d 114, 125–26 (Tex. App.—Austin 2003) (reversing judgment against defendants New

York Life and Coffey, a New York Life agent, after explaining that “because New York Life did

not breach its agreement with [plaintiff], Coffey is not liable for tortious interference with those

agreements”). Moreover, KSE cannot be liable for tortious interference with any agreement

between Outdoor and Plaintiff because even if KSE did cause some action by Outdoor, merely

inducing a contract obligor to do something it has a right to do is not actionable interference. ACS

Investors, a Texas Supreme Court case that in many ways resembles the circumstances at issue


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                             34
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                    Page 42 of 58 PageID 5439


here, demonstrates this flaw in Plaintiff’s claim. ACS Investors, Inc. v. McLaughlin, 943 S.W.2d

426, 428–31 (Tex. 1997).

       In ACS Investors, a company called First Texas acquired a company called the “AMS

Division” from an individual named McLaughlin, and as part of the acquisition agreement, granted

McLaughlin an option to buy back a 49% equity stake in the AMS Division at the end of a five-

year period. Id. at 428. However, First Texas subsequently sold the AMS Division to ACS, in a

transaction that severed McLaughlin’s purchase option. Id. 429–30. After McLaughlin sued ACS

and others for tortious interference, a jury found (and the Texas Court of Appeals affirmed) that

“ACS tortiously interfered with the McLaughlin Agreement by purchasing the AMS Division from

First Texas.” Id. at 429. The Texas Supreme Court overturned the judgment, holding that even

though ACS was aware of the agreement between McLaughlin and First Texas, First Texas had a

right to sell the AMS Division, therefore the sale could not form the basis of a tortious interference

claim. Id. at 430–31. In other words, “ACS merely negotiated for First Texas to do what it had a

right to do under the McLaughlin Agreement.” Id.

       This case is similar, in that Outdoor did not engage in any prohibited acts. As noted above,

Outdoor’s discussions and conversations with KSE regarding a merger with Outdoor and

acquisition of all Outdoor stock were not prohibited by any provision of the Term Sheet, and were

consistent with the fiduciary obligations Outdoor owed its shareholders. (Ex. A-13, McQuay Tr.

at 68:3–6, App. 186; Ex. A-25, Werner Tr. at 43:16–44:5, 114:20–115:21, App. 414–15, 420–21).

And even if KSE had induced Outdoor not to sell the Aerial Camera Business to Plaintiff and PNC

(and the undisputed evidence is that KSE did not do so), and was aware of the Term Sheet between

Outdoor and Plaintiff, Outdoor had an express right under the Term Sheet (under the very language

drafted by Plaintiff and PNC) to withdraw from or terminate negotiations with Plaintiff for any




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                               35
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                    Page 43 of 58 PageID 5440


reason or for no reason. (Ex. A-2, SAC, Ex. A at 3, ECF #63, App. 034). Thus, any exercise by

Outdoor of the right not to sell the Aerial Camera Business, even if induced by KSE, cannot serve

as the basis for a tortious interference with existing contract claim.

       To the extent Plaintiff’s tortious interference with existing contract claim relies on KSE’s

purported involvement in the March 21 Letter, such a claim likewise should be rejected. As

discussed in the following section, Plaintiff has no evidence that KSE played any role in the

drafting or execution of the March 21 Letter, and the undisputed evidence is to the contrary.

Moreover, the March 21 Letter, which was without legal effect, would have done nothing more

than extend the Term Sheet’s exclusivity period and acknowledge KSE’s consent rights under the

KSE Merger Agreement. Furthermore, as noted above, the undisputed evidence was that KSE

would have approved of the sale to Plaintiff and PNC had they entered into definitive agreements

consistent with the Term Sheet.

       Finally, as with his breach of contract claim, Plaintiff’s tortious interference claim also

must fail because he cannot establish that any “actual loss and damage” occurred as a result of any

alleged interference.

       For these reasons, the Court should grant KSE’s request for summary judgment on Count

2 of the SAC.

D.     KSE DID NOT TORTIOUSLY INTERFERE WITH A PROSPECTIVE BUSINESS RELATION
       BETWEEN PLAINTIFF AND OUTDOOR

       1.       Applicable Law

       Count 3 of the SAC is a claim against KSE for tortious interference with a prospective

business relationship between Plaintiff, PNC, and Outdoor. To prove such a claim, Plaintiff must

establish: “(1) a reasonable probability that the parties would have entered into a contractual

relationship; (2) an independently tortious or unlawful act by the defendant[s] that prevented the



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                            36
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                   Page 44 of 58 PageID 5441


relationship from occurring; (3) the defendant[s] did the act with a conscious desire to prevent the

relationship from occurring or with knowledge that the interference was certain or substantially

certain to occur as a result of his conduct; and (4) the plaintiff suffered actual harm or damage as

a result of the interference.” Community Initiatives, Inc. v. Chase Bank of Texas, 153 S.W.3d 270,

283–284 (Tex. App.—El Paso 2004).

       Count 3 is based on Plaintiff’s claim that he and Outdoor would have entered into an

agreement for the sale of the Aerial Camera Business. This claim too, however, is defective and

without support for at least two reasons. First, there is no evidentiary support for the purported

acts of interference that Plaintiff alleges KSE committed. Second, even if KSE had engaged in the

conduct of which Plaintiff accuses it, such conduct is not independently tortious and therefore is

not actionable under a tortious interference with prospective business relations theory.

       2.      There Is No Evidence Of Interference By KSE

       Plaintiff lacks any evidence that KSE interfered with the prospective sale of the Aerial

Camera Business to PNC and him. The SAC alleges that KSE interfered with the prospective sale

by “induc[ing] Outdoor to breach its contractual obligation to negotiate exclusively with [Plaintiff]

and PNC and then caused the execution of the [March 21] Amendment, which purported to grant

KSE the right to disavow the sale of the Aerial Camera Business.” (Ex. A-1, SAC ¶ 58, ECF #63,

App. 025). However, as Defendants already have demonstrated, there is no evidence that KSE

induced Outdoor to breach any contractual duty it owed to Plaintiff or that KSE had any

involvement whatsoever in the drafting or execution of the March 21 Letter between Outdoor and

PNC. (See Ex. A-19, Lee Tr. at 60:13–61:5; 87:21–88:11, App. 268–69, 273–74; Ex. A-10, Gluck

Tr. at 82:1–83:5; 86:14–23, App. App. 152–54).

       Plaintiff’s claim that KSE interfered with the prospective sale of the Aerial Camera

Business by inducing Outdoor to breach the Exclusivity section of the Term Sheet fails for the


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                              37
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                    Page 45 of 58 PageID 5442


reasons set forth in Section III.B, i.e., Outdoor did not breach the Term Sheet and therefore KSE

could not have induced any such breach. Moreover, the undisputed evidence in this case shows

that KSE did not influence, direct, or control Outdoor in any way with respect to the disposition

of the Aerial Camera Business prior to May 17, 2013. As KSE’s President and CEO James Martin

explained during his deposition, the decision as to whether Outdoor would sell the Aerial Camera

Business belonged to Outdoor’s management, and if an agreement had been reached with Plaintiff

and PNC consistent with the Term Sheet, KSE would have consented to that sale. (See Ex. A-3,

Martin Tr. at 49:3–50:4, App. 042–43).

       Plaintiff therefore cannot demonstrate the existence of a factual dispute as to whether KSE

interfered with a prospective business relationship between Plaintiff and Outdoor (it did not). And

because the evidence shows KSE would have consented to a sale if presented with the opportunity,

Plaintiff also cannot demonstrate that he suffered any injury or damages. Accordingly, summary

judgment should be granted in KSE’s favor.

       3.      Plaintiff Does Not Allege Or Have Evidence Of Independently Tortious
               Conduct By KSE

       Alternatively, Plaintiff cannot demonstrate that KSE engaged in any conduct or activity

that was independently tortious. In Wal–Mart Stores, Inc. v. Sturges, 52 S.W.3d 711 (Tex. 2001),

the Texas Supreme Court went to great lengths to clarify the distinction between tortious

interference with an existing contract and tortious interference with a prospective business relation,

and what kind of conduct is actionable under each. The Sturges court explained that when there

is not yet a contractual relationship between the plaintiff and a third party and the relationship is

only prospective, interference with that relationship by the defendant is actionable only if it is

independently tortious or wrongful. Id. at 726. By this the court meant that the conduct “was




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                               38
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                    Page 46 of 58 PageID 5443


wrongful by some legal measure other than the fact of the interference itself.” Id. at 720 (quoting

Della Penna v. Toyota Motor Sales, Inc., 902 P.2d 740, 751 (Cal. 1995)).

       As the Sturges court observed, successful tortious interference with prospective business

relations claims typically involve violent, fraudulent, or defamatory conduct. See id. at 725–26.

As an example, the court offered a situation in which the defendant threatened a prospective

customer of the plaintiff with bodily harm if he did business with the plaintiff. See id. at 713, 726.

In such a scenario, the plaintiff could not sue the defendant for assault (it was the customer who

was assaulted), but could potentially recover for the tortious interference with the prospective

business relation. Id.

       Sturges involved claims by a group of plaintiffs who had been in negotiations with the

owners of a food store business (Fleming) to lease them a tract of land on which to build a store,

going as far as signing a letter of intent with Fleming. Id. at 714. The tract was subject to covenants

that permitted the previous owner, Wal-Mart, to approve modifications to a pre-existing site plan

for the tract. Id. at 713–14. Plaintiffs sought approval for a modification to the site plan that would

permit the food store to be built on the property, which Wal-Mart initially indicated would be

granted. Id. at 714. However, Wal-Mart decided that it wanted to acquire the property for itself,

so it could expand a Wal-Mart on an adjacent property. Id. Wal-Mart then informed Fleming that

if it could not acquire the property, it would close its store on the adjacent lot and relocate. Id.

Fleming was not interested in opening a store on the property without an adjacent Wal-Mart, and

it cancelled the letter of intent and abandoned its plan to lease the property from the plaintiffs. Id.

       Plaintiffs sued Wal-Mart for tortious interference with their prospective lease agreement

and were awarded damages, which the court of appeals affirmed. Id. at 714–15. The Texas

Supreme Court reversed. While there was no dispute that Wal-Mart told Fleming it would relocate




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                39
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                   Page 47 of 58 PageID 5444


its store if it could not acquire the property, Plaintiff argued that the statement was false or

fraudulent. Id. at 727. However, the court found that there was no evidence to support that

assertion. Id at 728. Further, the court concluded that the record contained “no evidence to indicate

that Wal-Mart intended the plaintiffs any harm other than what they would necessarily suffer by

Wal-Mart’s successful acquisition of [the property], which they were both pursuing, by entirely

lawful means.” Id. Thus, the Sturges court held that there was “no evidence to support a judgment

for the plaintiffs on their interference claim.” Id.

       Again, Plaintiff lacks evidence showing that KSE engaged in the activities alleged in the

SAC. But even if such evidence did exist, it would be insufficient to show that KSE committed

an independently tortious or wrongful act. None of the allegations against KSE involve fraudulent

or illegal activity or conduct that could stand on its own as a tort sufficient to sustain a tortious

interference with prospective business relations claims. Indeed, KSE’s conduct was that of a

competitor to the InterMedia offer to acquire all Outdoor stock, and there certainly is nothing

remotely nefarious about that.

       Plaintiff’s claim of tortious interference with prospective business relations is belied by the

undisputed evidence and is fatally deficient under Texas law. The Court therefore should grant

KSE’s request for summary judgment on Count 3 of the SAC.

E.     DEFENDANTS DID NOT AID OR ABET A BREACH OF FIDUCIARY DUTY BY PNC

       1.      Applicable Law

       Count 5 of the SAC is a claim against Outdoor and KSE for “aiding and abetting” breach

of fiduciary duties. Under Texas law, “where a third party knowingly participates in the breach of

duty of a fiduciary, such third party becomes a joint tortfeasor with the fiduciary and is liable as

such.” Meadows v. Hartford Life Ins. Co., 492 F.3d 634, 639 (5th Cir. 2007) (citing Kinzbach

Tool Co. v. Corbett–Wallace Corp., 160 S.W.2d 509, 514 (Tex. 1942) (affirming dismissal of


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                               40
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                    Page 48 of 58 PageID 5445


plaintiff’s claims under Rule 12(b)(6)). To establish a claim of knowing participation in a breach

of fiduciary duty, a plaintiff must establish: “(1) the existence of a fiduciary relationship; (2) that

the third party knew of the fiduciary relationship; and (3) that the third party was aware that it was

participating in the breach of that fiduciary relationship.” Id. (citing Cox Tex. Newspapers, L.P. v.

Wootten, 59 S.W.3d 717, 721–22 (Tex. App. 2001)).

       2.      Outdoor And KSE Did Not Induce PNC To Breach A Fiduciary Duty Or Assist
               PNC In Breaching A Fiduciary Duty

       Plaintiff claims that KSE and Outdoor “knowingly assisted, encouraged, and participated

in PNC’s breach of its fiduciary duties owed to [Plaintiff] in connection with their [attempted]

purchase of the Aerial Camera Business by inducing PNC to sign the [March 21] Amendment

without [Plaintiff’s] knowledge or consent.” (Ex. A-1, SAC ¶ 62, ECF #63, App. 025).

       Plaintiff lacks any evidence showing that Outdoor or KSE were aware that they were

participating in any alleged breach of a fiduciary relationship, even assuming PNC owed Plaintiff

any such duties. Plaintiff’s claim is based entirely on the March 21 Letter, and the undisputed

evidence is that KSE played no part in (and was not even aware of) that Letter until after the fact.

See supra Section IV.D.2. Furthermore, Plaintiff can present no evidence that Outdoor was aware

that was it participating in any breach of a fiduciary relationship, if PNC’s signing of the March

21 Letter was a breach at all. Rather, the Outdoor personnel involved in the drafting and signing

of the March 21 Letter all have testified that the failure to obtain Plaintiff’s signature on the

document was an oversight. (See Ex. A-5, Holowaty Tr. at 95:23–98:4, App. 067–70; Ex. A-11,

Hornish Tr. at 104:9–106:4, App. 177–79; Ex. A-19, Lee Tr. at 61:15–62:21, App. 269–70). As

Ms. Lee testified, Outdoor had been “negotiating primarily with PNC, and [Plaintiff] was no longer

involved,” so Outdoor “inadvertently forgot” to obtain Plaintiff’s signature. (Ex. A-19, Lee Tr. at

62:1–7, App. 270) The following exchange from Ms. Lee’s deposition demonstrates that Outdoor



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                41
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 49 of 58 PageID 5446


neither intended to cause any harm to Plaintiff by executing the March 21 Letter, nor was it aware

that any violation of the relationship between Plaintiff and PNC might result:

       MR. EVANS:             Was there any intent by Outdoor to deceive Mr. Salomon?
       MS. LEE:               Absolutely not.
       MR. EVANS:             Was there any intent by Outdoor to conceal anything from
                              Mr. Salomon?
       MS. LEE:               No.
       MR. EVANS:             Was there any intent by Outdoor to cut Mr. Salomon out of
                              the effort to acquire the Aerial Camera Business?
       MS. LEE:               No.
       MR. EVANS:             Did -- is it fair to say that Outdoor expected PNC to
                              communicate the contents of [the March 21 Letter] with Mr.
                              Salomon?
       MS. LEE:               Yes.

(Ex. A-19, Lee Tr. at 62:8–21, App. 270). Mr. Hornish, who signed the March 21 Letter on

Outdoor’s behalf, provided similar testimony, and also said that no one from KSE told Outdoor to

exclude Plaintiff from the March 21 Letter. (Ex. A-11, Hornish Tr. at 76:13–77:12, App. 169–

70). There is no contrary evidence.

       Accordingly, the Court should grant summary judgment in favor of Defendants on Count

5 of the SAC.

F.     DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT ON PLAINTIFF’S “UNJUST
       ENRICHMENT” CLAIM

       1.       Unjust Enrichment Is Not An Independent Cause Of Action

       Count 6 of the SAC is a claim against Defendants and PNC for “Unjust Enrichment.” As

Defendants explained in their motion to dismiss the SAC, unjust enrichment is not a standalone

legal claim. (See Ex. A-27, ECF #74 at 15-16, App. 447–48). Several state and federal courts in

Texas, including this Court, have held that “[u]njust enrichment is [a] theory of liability, not an

independent cause of action under Texas law.” See Ingram v. Beneficial Fin. Inc., Civil Action



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                            42
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 50 of 58 PageID 5447


No. 3:13-CV-4037-L, 2015 WL 1443110, at *13 (N.D. Tex. Mar. 30, 2015) (citing Chapman v.

Commonwealth Land Title Ins. Co., 814 F. Supp. 2d 716, 724–26 (N.D. Tex. 2011); Hancock v.

Chicago Title Ins. Co., 635 F. Supp. 2d 539, 560 (N.D. Tex. 2009); Mowbray v. Avery, 76 S.W.3d

663, 679 (Tex. App.—Corpus Christi 2002, pet. denied)).9 For this reason alone, the Court should

grant summary judgment in favor of Defendants on Count 6 of the SAC.

       2.      Even If Unjust Enrichment Is An Independent Cause Of Action, Plaintiff’s
               Claim Fails

       Plaintiff cannot sustain a claim of unjust enrichment, even if such a claim may serve as an

independent cause of action. This is because “there can be no recovery for unjust enrichment

under a quasi-contract or contract implied-in-law theory when a valid, express contract covers the

subject matter of the parties’ dispute.” See Patterson v. Long Beach Mortg. Co., Civil Action No.

3:07–CV–1602–O–BH, 2009 WL 4884151, at *8 (N.D. Tex. Dec. 15, 2009) (citing Fortune Prod.

Co. v. Conoco, Inc., 52 S.W.3d 71, 684 (Tex. 2000); Walker v. Cotter Props., Inc., 181 S.W.3d

895, 900 (Tex. App.—Dallas 2006, no pet.)). There can be no argument here that the subject

matter of the parties’ dispute is the Exclusivity section of the Term Sheet. Accordingly, summary

judgment on Plaintiff’s unjust enrichment claim should be granted in Defendants’ favor. See id.

(granting summary judgment on unjust enrichment claim to defendant who established “the

presence of a valid contract covering the parties’ dispute”).




9 While there is some disagreement on this issue, a Texas federal court recently observed that
“[m]ost of the Texas courts of appeals and federal courts that have considered the question under
Texas law have rejected the existence of an independent cause of action for unjust enrichment.”
Mission Trading Co., Inc. v. Lewis, Civil Action No. H-16-3368, 2017 WL 6935824, at *6 (S.D.
Tex. July 31, 2017) (quoting David Dittfurth, Restitution in Texas: Civil Liability for Unjust
Enrichment, 54 S. TEX. L. REV. 225, 238 (2012)) (dismissing Plaintiff’s unjust enrichment claim
after being “persuaded” by the view that “unjust enrichment is not a separate cause of action under
Texas law”).


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                            43
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                    Page 51 of 58 PageID 5448


       Further, even if the Court were to decide unjust enrichment is an independent cause of

action and conclude that this dispute is not governed by the Exclusivity section of the Term Sheet,

Plaintiff has no evidence to establish that he is entitled to recover anything under an unjust

enrichment theory. Unjust enrichment is appropriate in cases where there is no valid contract in

place, and the defendant obtained a benefit from the plaintiff “by fraud, duress, or the taking of an

undue advantage.” Heldenfels Bros., Inc. v. City of Corpus Christi, 832 S.W.2d 39, 41 (Tex. 1992).

Here, there is no evidence showing that KSE or Outdoor obtained any “benefit” from Plaintiff.

(Ex. A-1, SAC ¶ 63, ECF #63, App. 025). Even the SAC contains nothing more than a vague

allegation that “Defendants have unjustly enriched themselves, to [Plaintiff’s] detriment.” (Id. at

¶ 69, App. 026). Moreover, even if Outdoor or KSE had obtained a benefit from Plaintiff, there is

no evidence that such a benefit was procured by fraud, duress, or by taking an undue advantage.

Accordingly, the Court should grant Defendants’ request for summary judgment on Plaintiff’s

unjust enrichment claim.

G.     THERE IS NO EVIDENCE OF AN AGREEMENT AMONG DEFENDANTS AND PNC THAT
       DEFENDANTS ENGAGED IN ANY UNLAWFUL ACT, OR THAT PLAINTIFF SUFFERED ANY
       DAMAGES

       Plaintiff’s claim of civil conspiracy in Count 7 of the SAC, involving Outdoor, KSE, and

PNC, also must fail because, as discussed above, he lacks evidence to establish that Defendants

committed a tort. A civil conspiracy claims requires: (1) two or more persons; (2) an object to be

accomplished; (3) a meeting of the minds on the object or course of action; (4) one or more

unlawful, overt acts; and (5) damages to the plaintiff as a proximate result. See Whitfield v. Nelson,

No. 3:13-CV-2230-BN, 2014 WL 1243805, at *3 (N.D. Tex. Mar. 26, 2014) (citation omitted).

Thus, “liability for a civil conspiracy depends on participation in an underlying tort.” Id. at *3.

The plaintiff must show “that the defendant committed an act that, if done alone, would give rise

to a cause of action.” Davis-Lynch, Inc. v. Moreno, 667 F.3d 539, 553 (5th Cir. 2012) (reversing


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                               44
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 52 of 58 PageID 5449


district court’s grant of summary judgment to plaintiff on its civil conspiracy claim where there

was insufficient evidence that defendants engaged in an overt, unlawful act).

       As demonstrated by the foregoing discussion, neither KSE nor Outdoor engaged in any

unlawful, overt acts, and Plaintiff does not have any evidence to the contrary. See Meadows v.

Hartford Life Ins. Co., 492 F.3d 634 (5th Cir. 2007) (observing that under Texas law, “civil

conspiracy is a derivative tort” and dismissing claim where plaintiff failed to allege an underlying

tort)). Moreover, there is no evidence whatsoever in the record supporting a “meeting of the

minds” as to any common plan or objective among KSE, Outdoor, and PNC. See Hunn v. Dan

Wilson Homes, Inc., Civil Action No. 5:12-CV-081-C, 2013 WL 12128677, at *11–12 (N.D. Tex.

Sept. 23, 2013) (granting summary judgment to defendants where the record lacked any evidence

beyond “mere speculation” of a “meeting of the minds between the alleged conspirators to cause

any damages or injury to [the plaintiff]”). KSE had no involvement in the March 21 Letter and

Outdoor lacked any intent to injure Plaintiff by executing the Letter without his signature. See

supra Section IV.D.2. Finally, as explained above, Plaintiff cannot demonstrate that he suffered

any injury as a result of any action taken by Outdoor or KSE. Accordingly, the Court should grant

Defendants’ request for summary judgment on Plaintiff’s civil conspiracy claim.

H.     PLAINTIFF’S DISGORGEMENT “CLAIM” IS INSUPPORTABLE

       Should any of Plaintiff’s claims proceed to trial, and even if Defendants are found to be

liable on any, Plaintiff’s damages would be limited to those that he actually suffered. Plaintiff

claims at various points in the SAC that Defendants should be required to “disgorge all profits,”

but provides no explanation of what profits he believes Defendants must disgorge. (See Ex. A-1,

SAC ¶¶ 59, 63, 70, 75 ECF #63, App. 024–25, 026–27). Plaintiff failed to clarify this issue in his

initial disclosures or his interrogatory responses, even as supplemented on August 24, 2018. (See

Ex. A-29, Plaintiff’s Second Amended Initial Disclosures at 8–10, App. 491–93; Ex. A-30,


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                             45
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 53 of 58 PageID 5450


Plaintiff’s Third Supplemental Answers To Defendants’ Interrogatories, App. 498–500). He

claims that he intends to seek his own “lost profits,” as well as “the value of any benefit that PNC

received as a result of executing the [March 21 Letter],” but says nothing about improper benefits

or profits received by Outdoor or KSE that should be disgorged. (Ex. A-29, Plaintiff’s Second

Amended Initial Disclosures at 8, App. 491). For this reason alone, Plaintiff’s pursuit of a

disgorgement theory against Defendants must be rejected. See Am. Realty Trust, Inc. v. Matisse

Partners, L.L.C., No. Civ.A.3:00−CV−1801−G, 2002 WL 1489543, at *1−7 (N.D. Tex. July 10,

2002) (precluding plaintiffs’ from presenting damages theory where the plaintiffs “had all the

necessary facts to disclose damage theory months ago, and . . . never provided proper support for

their damages calculations”).

       Not until Plaintiff submitted an “expert” witness report on September 14, 2018 did Plaintiff

provide any indication of the type of “profit” that he believes Defendants should have to disgorge

or how the amount of disgorgement should be calculated, and even then Plaintiff’s purported

expert did so in throw away fashion in one paragraph of a 42-page report. (See Ex. A-31, Sept.

14, 2018 Expert Witness Report of Kevin Kreitzman (“Kreitzman Report”), App. 503–07).10

Simply “assuming liability,” Plaintiff’s purported expert provides calculations of Plaintiff’s

supposed “benefit of the bargain” damages arising from Outdoor’s alleged breach of contract. (See

id. at 5, App. 505). The Report provides calculations (again based on pure speculation and flawed

methodology) ranging between approximately $2 and $2.8 million. (See id., App. 505). But the

Kreitzman Report then makes the incredible claim that Outdoor also should have to disgorge




10 Defendants deposed Mr. Kreitzman in San Francisco on October 24, 2018.   As he did throughout
his Report, Mr. Kreitzman confirmed that his damages opinions are based on nothing more than
pure speculation and fundamentally flawed methodology. As a result, Defendants will be filing a
motion to exclude Mr. Kreitzman’s testimony at any trial pursuant to FED. R. EVID. 702.


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                             46
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                  Page 54 of 58 PageID 5451


$58.14 million plus prejudgment interest of $11.45 million, for a total of $69.59 million. (Id. at

6, 30, App. 506–07). Plaintiff reaches this absurd figure by claiming that Outdoor breached the

Exclusivity section of the Term Sheet by “accept[ing] a competing offer by KSE that included an

offer to buy the Aerial Camera Business,” and therefore the entire difference in value between

InterMedia’s offer in November 2012 to acquire Outdoor at $8.00 per share and KSE’s final offer

to acquire Outdoor at $10.25 per share must be disgorged. (Id. at 30, App. 507). Even putting

aside Plaintiff’s attempt to assert a disgorgement theory that dwarfs in the extreme his alleged

actual damages with no notice or explanation beyond one paragraph in a so-called expert witness

report, Plaintiff’s theory is defective as a matter of law.

        As the Fifth Circuit has recognized, Texas law does “not allow a disgorgement remedy for

a breach-of-contract claim.” See Hoffman v. L & M Arts, 838 F.3d 568, 585 (5th Cir. 2016). “In

Texas, ‘[t]he universal rule for measuring damages for the breach of a contract is just compensation

for the loss or damage actually sustained.’ ” Id. (quoting CQ, Inc. v. TXU Min. Co., L.P., 565 F.3d

268, 278 (5th Cir. 2009)). Thus, disgorgement as a theory of recovery on a breach of contract

claim is “legally non-viable” and must be rejected. See id. (reversing damages award on breach

of contract claim that “reflected a disgorgement remedy”).

        Plaintiff makes clear both in the Kreitzman Report and during Mr. Kreitzman’s deposition

that his disgorgement claim is tied to Outdoor’s alleged breach of the Term Sheet’s Exclusivity

section. (See Ex. A-31, Kreitzman Report at 30, App. 507 (explaining that Outdoor “accepted a

competing offer by KSE that included an offer to buy the Aerial Camera Business despite the

agreement by Outdoor in the term sheet” and thereby “received considerable benefit”); Ex. A-32,

Transcript of Oct. 24, 2018 Deposition of Kevin Kreitzman (“Kreitzman Tr.”) (Rough Draft) at

114:25–115:7, App. 512 (“[T]his is what Outdoor gained by being willing to not honor that




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                             47
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                    Page 55 of 58 PageID 5452


transaction.”). Because Plaintiff’s disgorgement theory is expressly predicated on his breach-of-

contract claim, it is therefore barred under Texas law.

       Plaintiff’s other alleged causes of action also do not support a disgorgement claim. First,

Plaintiff may not seek disgorgement as a remedy for his tortious interference claims. Under Texas

law, “[t]he measure of damages for . . . interference with contract[s] is the same as it is for breach

of contract.” See Marcus, Stowell & Beye Gov’t Secs., Inc. v. Jefferson Inv. Corp., 797 F.2d 227,

231–32 (5th Cir. 1986) (citing Armendariz v. Mora, 553 S.W.2d 400, 406 (Tex. App.—El Paso

1977, writ ref’d n.r.e.). Thus, Plaintiff’s recovery must be limited to the amount of actual loss

suffered. See id. Second, as explained above, Plaintiff cannot claim “unjust enrichment” when

there is a valid, express contract governing the subject matter of the dispute. See Johnson v. Wells

Fargo Bank, NA, 999 F. Supp. 2d 919, 929 (N.D. Tex. 2014). Here, Plaintiff cannot dispute that

the Exclusivity section of the Term Sheet governs his claims in this case. Third, a civil conspiracy

claim requires proof that the plaintiff sustained damages proximately caused by illegal, overt acts

committed by the conspirators, showing once more that recovery is limited to plaintiff’s actual

damages. See Whitfield v. Nelson, No. 3:13-CV-2230-BN, 2014 WL 1243805, at *3 (N.D. Tex.

Mar. 26, 2014). Defendants could find no case in which a plaintiff was permitted to recover under

a civil conspiracy claim for damages that he did not himself suffer as a result of the conspiracy.

       Nor can plaintiff disgorge Outdoor’s profits under his breach of fiduciary duty or aiding

and abetting claims. While disgorgement is sometimes permitted in breach of fiduciary duty cases,

there are no allegations that Outdoor owed or breached any such duty to Plaintiff. The “aiding and

abetting” cause of action, meanwhile, is premised on the idea that when a third party knowingly

participates in another’s breach of fiduciary duty it “becomes a joint tortfeasor with the fiduciary

and is liable as such.” See Meadows, 492 F.3d at 639. This means that Defendants are at most




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                               48
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                    Page 56 of 58 PageID 5453


liable to the same extent as PNC for its alleged breach of fiduciary duty to Plaintiff—a claim

premised on PNC’s “entering into the [March 21 Letter] without [Plaintiff’s] knowledge or

consent.” (See Ex. A-1, SAC ¶ 66, ECF #63, App. 026). Plaintiff cannot show that PNC received

any monetary benefit for entering into the March 21 Letter—precisely because PNC received no

such benefit, and thus Defendants are not liable in any way under this theory. The difference in

value between InterMedia’s initial offer and KSE’s final offer was not a benefit that PNC received

(in fact, again, Plaintiff fails to demonstrate that PNC received any benefit by signing the March

21 Letter). Therefore Plaintiff’s aiding and abetting cause of action also fails to support Plaintiff’s

disgorgement theory.

                                        V. CONCLUSION

       WHEREFORE, for the reasons set forth above, Defendants KROENKE SPORTS &

ENTERTAINMENT, LLC and OUTDOOR CHANNEL HOLDINGS, INC. respectfully request that the Court

grant summary judgment in their favor on Counts 1, 2, 3, 5, 6, and 7 of the Second Amended

Complaint, preclude Plaintiff from pursuing a disgorgement theory of recovery, and award

Defendants such other and further relief as the Court deems appropriate.

                           [Remainder of page intentionally left blank]




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                                49
Case 3:15-cv-00666-M Document 244 Filed 11/05/18     Page 57 of 58 PageID 5454


Respectfully submitted,

Date: November 5, 2018              By:   s/Kevin D. Evans
                                          Kevin D. Evans
                                          Admitted pro hac vice
                                          Nicholas W. Dowd
                                          Admitted pro hac vice
                                          ARMSTRONG TEASDALE LLP
                                          4643 South Ulster Street, Suite 800
                                          Denver, CO 80237
                                          Telephone: 720.200.0676
                                          Facsimile: 720.200.0679
                                          Email: kdevans@armstrongteasdale.com
                                                  ndowd@armstrongteasdale.com

                                          and

                                          Paul C. Watler
                                          State Bar No. 00784334
                                          Shannon Zmud Teicher
                                          State Bar No. 24047169
                                          J ACKSON WALKER L.L.P.
                                          2323 Ross Avenue, Suite 600
                                          Dallas, Texas 75201
                                          Telephone: 214.953.6000
                                          Facsimile: 214.953.5822
                                          Email: pwatler@jw.com
                                                  steicher@jw.com

                                          Attorneys for Defendants KROENKE SPORTS
                                          & ENTERTAINMENT, LLC and
                                          OUTDOOR CHANNEL HOLDINGS, INC.




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                             50
Case 3:15-cv-00666-M Document 244 Filed 11/05/18                 Page 58 of 58 PageID 5455


                                   CERTIFICATE OF SERVICE

        This is to certify that on this 5th day of November, 2018, I caused the foregoing BRIEF
IN SUPPORT OF DEFENDANTS KROENKE SPORTS & ENTERTAINMENT, LLC AND
OUTDOOR CHANNEL HOLDINGS, INC.’S MOTION FOR SUMMARY JUDGMENT to
be electronically submitted with the Clerk of Court for the U.S. District Court, Northern District
of Texas, using the electronic case filing system of the Court.


                                                            /s/Kevin D. Evans
                                                            Kevin D. Evans




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Motion For Summary Judgment                                           51
